  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 1 of 97 PageID #:7299




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

 PATRICK PURSLEY,                                   )
                                                    )        Case No. 3:18-cv-50040
              Plaintiff,                            )
                                                    )        Hon. Philip G. Reinhard
              v.                                    )
                                                    )        Hon. Margaret J. Schneider,
 THE CITY OF ROCKFORD et al.,                       )
                                                    )
              Defendants.                           )


                    PLAINTIFF’S RESPONSE TO DEFENDANTS’
              JOINT STATEMENT OF UNDISPUTED MATERIAL FACTS

       Plaintiff Patrick Pursley Responds to the Defendants’ Joint Statement of Undisputed

Material Facts Pursuant to Local Rule 56.1. and states:

                                       I. THE PARTIES

       1.      Plaintiff, Patrick Pursley, is an individual residing in Champaign County, Illinois.

(Second Amended Complaint, dkt # 100 at ¶ 9).

       RESPONSE: Undisputed.

       2.      The Defendant, the City of Rockford, Illinois, is an Illinois municipal corporation

existing pursuant to Illinois law and located within this district and division. (Answer to Second

Amended Complaint, dkt # 149 at ¶ 14). It is one of the parties currently moving for summary

judgment.

       RESPONSE: Undisputed.

       3.      Individually named Defendants Jeffrey Houde, Mark Schmidt, Bruce Scott, Greg

Hanson, and Stephen Pirages were police officers with the City of Rockford Police Department at

all relevant times. (Answers to Second Amended Complaint, dkt #s 140-149 at ¶ 10). They are




                                                1
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 2 of 97 PageID #:7300




some of the parties currently moving for summary judgment. Defendants James Barton, Jim

Bowman, Ron Gallardo, Sam Pobjecky, Doug Williams, and John Genens were additionally

named as Defendants in this proceeding but they were all dismissed and are no longer parties to

this case. (dkt # 280, 317).

       RESPONSE: Undisputed.

       4.      The City Administrator for the City of Rockford is named as a defendant in his

capacity as Special Representative of the Estate of Howard Forrester. Forrester was a police officer

with the City of Rockford Police Department at all relevant times. Forrester is now deceased and

the City Administrator for the City of Rockford is defending his Estate in this action. (Answer to

Second Amended Complaint, dkt # 150 at ¶ 11). Forrester’s Estate is the party currently moving

for summary judgment in his place. The Estates of Gary Reffett and David Ekedahl were

additionally named as Defendants in this proceeding but were dismissed pursuant to the stipulation

of the parties and are no longer parties to this case. (dkt.# 315).

       RESPONSE: Undisputed. Stating further, Forrester was the lead detective on the

Ascher homicide. Ex. 12 (Genens Dep.) at 113:4-9; Ex. 11 (Schmidt Dep.) at 32:6-9.

Immaterial that the Estates of Gary Reffett and David Ekedahl were named as defendants

but dismissed.

       5.      Defendants Daniel Gunnell, Peter Striupaitis, and Jack Welty were at all relevant

times employed as forensic scientists by the Illinois State Police. (Answer to Second Amended

Complaint, dkt # 114 at ¶ 15). Peter Striupaitis was dismissed from the case. (Dkt 341). Daniel

Gunnell passed away during this litigation, and was substituted as a party by Maureen Gunnell,

who is serving as his Special Representative. The remaining “ISP Defendants” (Daniel Gunnell’s

Special Representative and Jack Welty) join in this Statement of Fact with their co-defendants, but




                                                   2
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 3 of 97 PageID #:7301




are filing a standalone motion for summary judgment and memorandum of law rather than joining

their co-defendants’.

       RESPONSE: Undisputed.

       6.      Defendant Charlene Getty was dismissed pursuant to the stipulation of the parties

and is no longer a party to this case. (dkt # 218).

       RESPONSE: Undisputed.

       7.      Defendant Christine Bishop (also sued under her maiden name Christine

McAnally), was dismissed pursuant to the stipulation of the parties and is no longer a party to this

case. (dkt # 233).

       RESPONSE: Undisputed.

       8.      Plaintiffs also listed “Unidentified Employees of the Rockford Police Department”

and “Unidentified Employees of the Illinois State Police Crime Lab” as defendants, though they

have been dismissed as well. (dkt # 317).


       RESPONSE: Undisputed.

                  II. FACTS SUPPORTING JURISDICTION AND VENUE

       9.      Plaintiff’s claims are brought pursuant to 42 U.S.C. § 1983 and state law. Subject

matter jurisdiction exists in this court pursuant to 29 U.S.C. §§ 1331 & 1367. (Answers to Second

Amended Complaint, dkt #s 140-150 at ¶ 7).

       RESPONSE: Undisputed.

       10.     All or most of the facts alleged in Plaintiff’s Complaint occurred within this district

and division, such that venue is proper here pursuant to 28 U.S.C. § 1391(b). (Answers to Second

Amended Complaint, dkt #s 140-150 at ¶ 8).

       RESPONSE: Undisputed.



                                                  3
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 4 of 97 PageID #:7302




                                         III. TIMELINE

       11.     The Timeline below is provided to help place the facts into context. The timing of

events is supported by the uncontested facts, and the records cited in support of those facts.


       RESPONSE: Plaintiff objects that this statement of fact is not a fact at all; it violates

Local Rule 56.1 in that it contains 18 separate facts, some of which are hotly disputed and/or

argumentative, and asks this Court to disregard or strike this fact. See Malec v. Sanford, 191

F.R.D. 581, 583 (N.D. Ill. 2000) (“It is inappropriate to confuse the issues by alleging multiple

facts in a single paragraph in hopes of one’s opponent missing one.”) Plaintiff will respond

to the facts in the timeline by responding to each statement of fact listed therein, and requests

that this Court disregard the timeline.




                                                 4
Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 5 of 97 PageID #:7303




Timeline: From Murder to Conviction

04/02/1993    Murder of Andrew Ascher (SOF ¶ 12)

06/08/1993    Marvin Windham anonymously calls Crime Stoppers, implicates Pursley in
              Ascher murder, bank robbery, and Burger King robbery (SOF ¶ 13)

06/08/1993    Pursley identified by Robert Poe as suspect who shot TV at 609 Woodlawn
              (SOF ¶ 38)
06/10/1993    Search warrant issued for Pursley’s residence and arrest warrant issued for
              Pursley for the Poe incident on Woodlawn; Pursley eludes arrest by running
              on foot; search warrant executed at Pursley/Crabtree residence recovers
              suspected murder weapon and briefcase from stolen car used in bank robbery
              (SOF ¶ 39-41)
06/10/1993    Samantha Crabtree gives written Statements implicating Pursley in Ascher
              murder, bank robbery, and Burger King robbery (SOF ¶ 42-50)
6/11/1993     First degree murder charges against Pursley authorized by Winnebago County
              State’s Attorney’s Office and arrest warrant issued for Pursley by Winnebago
              County Circuit judge for the murder of Andrew Ascher (SOF ¶ 167)
06/12/1993    Marvin Windham gives written Statement implicating Pursley in Ascher
              murder, bank robbery, and Burger King robbery (SOF ¶ 14)
06/14/1993    Thomas "Tramp" McCoy tells police about Pursley shooting Poe’s TV and
              Pursley admitting to having killed before (SOF ¶ 51)
06/16/1993    Pursley found hiding under wheelchair ramp and arrested (SOF ¶ 53)

06/23/1993    Marvin Windham testifies before Grand Jury, implicating Pursley in the
              Ascher homicide (SOF ¶ 21)
06/23/1993    Samantha Crabtree testifies before Grand Jury, implicating Pursley in the
              Ascher homicide (SOF ¶ 52)
06/23/1993    Pursley indicted for murdering Andrew Ascher (SOF ¶ 21)

08/05/1993    Samantha Crabtree tells police about being beaten, almost shot by Pursley
              (SOF ¶ 55-56)
10/29/1993    Olen Bell (Vice Lord) gives police written Statement implicating Pursley in
              Ascher murder, bank robbery, effort to hire hitman to kill Marvin Windham
              (SOF ¶ 34)
12/29/1993    Lester Brown gives police written Statement implicating Pursley in Ascher
              murder, effort to hire hitman to kill Marvin Windham (SOF ¶ 25)




                                            5
     Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 6 of 97 PageID #:7304




    04/26/1994      Marvin Windham testifies against Pursley at criminal trial, implicating
                    Pursley in Ascher murder (SOF ¶ 22)
    04/22/1994      Samantha Crabtree testifies at Pursley’s murder trial (SOF, ex. 37-38)
    &
    04/25/1994
    04/28/1994      Patrick Pursley convicted by a jury of murdering Andrew Ascher



                                   III. UNCONTESTED FACTS 1

          12.     Andrew Ascher was shot and killed the evening of April 2, 1993. (Second Amended

Complaint, dkt # 100 at ¶ 17). Some of the Defendant officers arrived at the crime scene, but they

found no suspects in the area. Id. at ¶ 25.


          RESPONSE: Plaintiff objects to this paragraph as it fails to cite to evidence. Plaintiff

admits that Andrew Ascher was shot and killed on the evening of April 2, 1993, and clarifies

that this statement as overbroad and vague and to the extent it excludes the existence of

evidence of suspect in the area such as shoeprints in the snow near a dumpster where an eye

witness had seen a man crouching soon after hearing gunshots. Ex. 12 (Houde Dep.) at 49:4-

9, Ex. 77 (Bodell Trial Testimony) at 997:15-999:12; Ex. 105 (Supplement Report 4.8.1993)

at 4. Plaintiff also clarifies that Defendants failed to investigate other viable suspects that

emerged shortly after the crime and well before the June 8, 1993 Crime Stoppers call. For

instance, the day after the incident, while still at the hospital, Becky George told the Rockford

Police Department that she had problems with her ex-husband that James Ascher would

often help her resolve. Ex. 64 (1993.04.03 Reffett Report) at RFD Defense 81; Ex. 21 (Clark

Report) at 11-12. She told the RPD that her ex-husband “played games” in order to




1
    Defendants label these facts as “uncontested,” but as evidenced within, the majority are contested.


                                                    6
     Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 7 of 97 PageID #:7305




“mentally torture her.” Ex. 64 (1993.04.03 Reffett Report) at RFD Defense 81. The officers

did not obtain Becky’s ex-husband’s name or question her further about her ex-husband the

problems he had with her. Ex. 64 (1993.04.03 Reffett Report) at RFD Defense 81; Ex. 21

(Clark Report) at 11-12. As another example, the Defendants began to investigate and then

appeared to drop the Vantrele Brothers, Antrone and Vantele, as viable possible suspects.

Ex. 21 (Clark Report) at 11, 13. About five hours after Ascher’s killing, around 3:15 a.m. on

April 3, 1993, the RPD went to the home of Antrone Turner and his brother Vantele Turner

to investigate a report that they were responsible for property damage at a nearby motel

earlier that morning. Ex. 69 (1993.04.03 Report); Ex. 21 (Clark Report) at 11, 13. The RPD

report noted that Vantele Turner was “dress [sic] in all dark clothing” and the investigating

officer “believed this black male may have been involved in this [Ascher] homicide.” Ex. 69

(1993.04.03 Report) at RFD Defense 65-66. The officers did not search the Turners’ home.

Ex. 69 (1993.04.03 Report); Ex. 21 (Clark Report) at 11, 13.


A.       Marvin Windham

         13.   On June 8, 1993, an informant by the name of Marvin Windham called the Crime

Stoppers hotline to report, anonymously at the time, that Patrick Pursley was the person who

committed the Ascher homicide, robbed a bank, and robbed a Burger King. (Ex. 1, Windham Dep.

at 21:1-23:2); (Ex. 62, Detective Bruce Scott Dep. at 129: 4-21); (Ex. 10 at 000242-45, June 28,

1993 Police Report by Det. Bruce Scott).

         RESPONSE: Plaintiff admits that Marvin Windham called the Crime Stoppers

hotline anonymously on June 8, 1993, but disputes the substance of Windham’s call. See

PSOF 41-55. Also denied because this statement relies on hearsay without exception, because

Pursley did not commit the Ascher homicide. PSOF 1.



                                               7
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 8 of 97 PageID #:7306




       14.     Four days later, on June 12, 1993, Windham met with detective Bruce Scott (one

of the Defendants in this case) and provided him with a signed, written Statement implicating

Patrick Pursley in the Ascher homicide, bank robbery, and Burger King robbery. (Ex. 1, Windham

Dep. at 14:8-16:24; 26:7-27:6); (Ex. 2, Marvin Windham’s June 12, 1993 Statement to Police).

       RESPONSE: Undisputed that Windham met with Defendant Scott on June 12, 1993

and signed a document containing inculpatory information about Pursley. Disputed to the

extent that this statement relies on hearsay without exception, and denied as to the substance

of the statement. PSOF 1; PSOF 41-55. And finally, disputed to the extent that this suggests

that Windham wrote the statement; he did not. Ex. 13 (Scott Dep.) at 129:4-14. Defendant

Scott typed it and Windham signed it. Ex. 37 (Windham Typed Statement). There is no

indication on the document itself that Windham read every paragraph. Id.

       15.     According to what Windham told the police in his written Statement, Windham

originally met Pursley in December 1991, while both were serving time in prison together in Joliet.

(Ex. 2 at 000247). They participated in the same work release program in Rockford after their

release. Id. Once released, Pursley told Windham to let Pursley know if he knew anyone selling

guns. Id. They started “kicking it” together in early 1993. Id.

       RESPONSE: Undisputed only to the extent this statement reflects the June 12, 1993

statement signed by Marvin Windham but otherwise disputed. Pursley and Windham met

during work release in Winnebago County, not in prison in Will County. Ex. 1 (Pursley Dep)

at 24:14-23. In 1992 to 1993, Pursley and Windham saw each other occasionally. Ex. 1

(Pursley Dep) at 27:6-10.

       16.     According to Windham’s Statement, Windham was with Pursley at Pursley’s

residence on or about April 5, 1993, just a few days after the Ascher murder. (Ex. 2 at 000247).




                                                 8
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 9 of 97 PageID #:7307




Windham’s Statement indicates that, during that visit, Pursley admitted to Windham that Pursley

killed Ascher, and that Pursley’s girlfriend, Samantha Crabtree, drove the getaway car for Pursley

on the night of the murder. Id. at 000247-248. According to Windham, Pursley bragged about the

murder, showed Windham a newspaper clipping about the murder, and showed him the gun he

had used, which Pursley talked about having “adjusted” after the murder so that “if he got caught

the police wouldn’t be able to hook the murder on him.” Id.

         RESPONSE: Undisputed only to the extent this statement accurately recites some of

the contents of the June 12, 1993 statement signed by Marvin Windham. Disputed because

Windham’s Statement does not refer to Ascher by name (id.), and does not say that Pursley

admitted that his girlfriend drove the “getaway car” (id. at 000248). Otherwise, disputed as

to the substance of the statement, because the statement was fabricated. See PSOF 1; PSOF

41-55.

         17.   According to Windham’s Statement, a couple of weeks later, Pursley came to

Windham’s house. (Ex. 2 at 000248). While watching TV, Pursley recognized a guy on TV named

“Bingo,” whom Pursley said he used to perform stick up robberies with. Id. Windham observed

Pursley then equip himself with a black hoodie, black skull cap with two holes in it, the same 9

millimeter handgun Windham observed Pursley with previously, and a police scanner with

headphones. Id. Pursley told Windham he was “fixing to go get him some money.” Id. Windham

observed Pursley go outside, remove the license plate off a vehicle and place a sticker in the back

window, as if he had just purchased the car, then take off. Id. The next day, Windham went to

Pursley’s residence and Pursley bragged about getting away with a Burger King Robbery, and

showed Windham the approximately $1500 he stole in that robbery. Id.




                                                9
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 10 of 97 PageID #:7308




         RESPONSE: Undisputed only to the extent this statement reflects the June 12, 1993

statement signed by Marvin Windham. Otherwise, disputed as to the substance of

Windham’s statements. PSOF 1; PSOF 41-55.

         18.   According to Windham’s Statement, a couple of weeks later Pursley and Samantha

Crabtree came to Windham’s residence. Id. During that visit Pursley told Windham that Pursley

was looking for a car to use to rob a bank. Id. The next day, Windham was at Pursley’s residence,

when he observed Pursley packing a black bag with a pistol, an extra clip, a purple mask, police

scanner, black pants, and a black hoody. Id. The following day, Pursley told Windham that he stole

an Oldsmobile, which he and Samantha Crabtree used to rob a bank of $16,000. Id. at 000248-

249.

         RESPONSE: Undisputed only to the extent this statement reflects the June 12, 1993

statement signed by Marvin Windham. The underlying facts are disputed. PSOF 1; PSOF

41-55.

         19.   Windham’s Statement indicates that Pursley began pressuring Windham to join

Pursley in performing stickup robberies, since Pursley was concerned that Windham “knew too

much.” Id. Windham’s Statement also indicated that Pursley “made some threats to me that before

[Pursley] goes back to the penitentiary he would know if it was me or Sam [that told] and he would

kill us before he goes back.” Id. at 000249. Windham’s statement indicates that he stopped

hanging around Pursley once Pursley threatened to kill him. Id.

         RESPONSE: Undisputed only to the extent this statement reflects the June 12, 1993

statement signed by Marvin Windham. The underlying facts are disputed. PSOF 1; PSOF

41-55. Pursley did not not threaten Windham or Sam or commit the Ascher homicide. Ex.

25 (Crabtree Affidavit) at Pursley 014257.




                                               10
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 11 of 97 PageID #:7309




       20.    Windham testified that he called Crime Stoppers to report Pursley because he was

scared of Pursley, knew him to be dangerous, and did not want to start participating in robberies

and crimes as Pursley wanted him to. (Ex. 1, Windham Dep. at 21:1-22:15).

       RESPONSE: Denied to the extent that Windham testified in his 2019 deposition that

he “was kind of scared” of Pursley. (Defs.’ Ex. 1 at 21:18.) Windham also stated that he knew

he would get money for providing information to Crime Stoppers on Pursley before he

called: “Crime Stoppers, if you turn somebody in with a crime, you get paid so much amount

of money.” (Defs. Ex. 1 at 31:15-24.)

       21.    Windham testified before a Grand Jury on June 23, 1993. His testimony implicated

Pursley in the Ascher homicide by recounting what he had previously told the police about

Pursley’s involvement. (Ex. 3, Windham Grand Jury testimony June 23, 1993). The Grand Jury

issued a Bill of Indictment, charging Pursley with the First Degree murder of Andrew Ascher. (Ex.

63, Bill of indictment, Pursley 000679-680).

       RESPONSE: Denied. Windham’s Grand Jury testimony was not coextensive with his

previous statements to police. For example, in his Grand Jury testimony, Windham stated

that Pursley told him he used a “Sixteen-shot, .9 millimeter (Taurus).” (Defs.’ Ex. 3 at

Pursley 19913.).

       22.    Windham testified at Pursley’s murder trial on April 26, 1994. His testimony

implicated Pursley in the Ascher homicide by recounting what he had previously told the police

and the Grand Jury about Pursley. (Ex. 4, Windham trial testimony at 004987-5046). During trial,

he explained that he called Crime Stoppers because Pursley threatened him by saying that

Windham “knew too much” and “was either in or out,” and that “before he go back to the

penitentiary [sic] he will know who told, either me or Samantha.” (Ex. 4 at 005040:11 – 5042:4:).




                                               11
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 12 of 97 PageID #:7310




       RESPONSE: Denied. There were many differences between Windham’s testimony at

trial and his previous accounts to the police and grand jury. For example, in his original

statement to police Windham recounted that Pursley was upset with the unemployment

office because they had “messed up or something” and he was not getting his payments.

(Defs.’ Ex. 2 at RFD Defense 000247.) At trial, Windham testified that Pursley was saying

things like “you denying me because I’m black, if I was white you would have given me

unemployment.” (Defs.’ Ex. 4 at 576:3-5.) Further at trial, the State asked Windham if their

trial exhibit 9 resembled the gun that Pursley showed him to be the murder weapon and

Windham testified that it did. (Defs.’ Ex. 4 at 580:9-19.) Additionally, Windham admitted

that he had received $2,650 from Crime Stoppers and that he had lied to police before and

told them his name was Marvin Johnson when he was arrested. (Defs. Ex. 4 at 5004:16-

5005:21.) Contrary to Defendants’ statement above, Windham also stated that in exchange

for giving testimony against Pursley, he asked that his wife not be arrested on a misdemeanor

warrant. (Defs. Ex. 4 at 10-24.)

       23.    When deposed in 2019, Windham confirmed that the written Statement he gave in

1993 was true (Ex. 1 at 16:6-24), as was his trial testimony in 1994. Id. at 31:3-6. He was not

coerced into giving his Statement and no one “put words into his mouth.” (Ex. 1 at 16:3-11).

       RESPONSE: Undisputed that Windham so testified but object that it is misleading

because Windham also testified at his deposition that he did not tell the Defendants certain

significant facts that appear in his statement. PSOF 41-55. Further clarifying, this statement

fails to recognize that there were many inconsistencies and contradictions among

Windham’s 2019 deposition testimony, 1993 statements, and 1994 trial testimony. For

example, in his trial testimony, Windham stated that he did not know about the Crime




                                               12
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 13 of 97 PageID #:7311




Stoppers award money before he called the tipline but in his deposition, he admitted that he

did. (Ex. 27 at 621:2-13 and Ex. 27, Windham Dep. at 109:11-110:7.)

B.     Lester “Latee” Brown

       24.    Lester “Latee” Brown testified that he met Patrick Pursley in 1985 or 1986 and that

they became partners in crime, performing residential burglaries and robberies together. (Ex. 5,

Brown Dep. #1 at 14:5-15:3). He testified that he and Patrick Pursley were both members of the

Black Gangster Disciples street gang. (Ex. 6, Brown Dep. #2, at 98:22-99:10).

       RESPONSE: The first sentence is denied; Brown did not testify in his October 30,

2019 deposition that they committed “residential burglaries” together. Ex. 94 (Brown Dep.

Oct. 30, 2019) at 14:6-23. Undisputed to the extent that Brown testified in his 2019 and 2020

depositions that he and Patrick were both members of the Black Gangster Disciples, but

Plaintiff clarifies that Brown never gave any testimony at either criminal trial. Plaintiff also

clarifies that according to Brown, by the time he gave his statement to police, he and Pursley

were no longer friends. Ex. 95 (Brown dep., August 24, 2020 ) at 21:8 to 22:16.

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at the

time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is therefore

irrelevant to this case. DSOF 53 (Pursley arrest on June 16, 1993); DSOF 26 (Brown’s

statement to police on December 29, 1993). See, e.g., Akbar v. City of Chicago, No. 06 C 3685,

2008 WL 5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual

committed one crime…does not foreclose a malicious prosecution claim for additional

prosecuting the individual on a separate charge.”) (citing Holmes v. Village of Hoffman

Estates, 511 F.3d 673, 682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019




                                              13
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 14 of 97 PageID #:7312




Wl 1382101, at *4 (N.D. Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013

WL 2598151, at *5 (N.D. Ill. June 11, 2013).

       25.    Brown met with detective Howard Forrester (one of the defendants in this case) and

provided him with a signed, written Statement dated December 29, 1993, implicating Patrick

Pursley in drug dealing, bank robbery, and robbing a Burger King. (Ex. 5, Brown Dep. #1 at 19:4-

20:6; Ex. 7, Brown Dec. 29, 1993 Statement). In addition to implicating Pursley in those crimes,

Brown’s Statement also implicated Pursley in a plot to have Marvin Windham murdered because

Windham was the Crime Stoppers informant who told the police that Pursley was the one who

killed Andrew Ascher. Id.

       RESPONSE: Undisputed only to the extent this statement reflects the December 29,

1993 statement signed by Lester Brown. Object that this statement relies on hearsay without

exception. Furthermore, object to the Defendants’ reliance on this statement at summary

judgment because it was not known to them when they initiated charges against Patrick and

thus cannot be considered for purposes of probable cause. See DSOF 53 (Pursley arrest on

June 16, 1993); DSOF 26 (Brown’s statement to police on December 29, 1993). Denied as to

the underlying facts asserted in the statement. For example, Pursley did not ask Brown to

kill Windham. Ex. 1 (Pursley Dep.) 111:4-11. Pursley did not kill Andrew Ascher and never

told Windham that he did. PSOF 1; Ex. 38 (Pursley Affidavit). Plaintiff further clarifies that

at the time Brown gave his statement, he faced federal charges for robbing a bank with

Samantha Crabtree’s sister, Theresa Crabtree. Ex. 96 (Lester Brown plea agreement ) at 2.

Brown knew that he had the highest possible criminal history under the federal sentencing

guidelines and was facing a lot of prison time and had young children at the time. Ex. 95

(Brown dep., August 24, 2020 ) at 17:3-18:20. On December 17, 1993, in hopes of getting less




                                               14
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 15 of 97 PageID #:7313




time on his sentence in exchange for giving information against Pursley, Brown wrote State’s

Attorney Koski a letter stating: “You all want to put Patrick to death and I feel I can help

100% percent,” and “You all are not looking at what I have to lose. You give me 15 and a

half, there's a chance my wife will divorce me.” Ex. 97 (1993.12.17 L. Brown Letter to D.

Koski); Ex. 95 (Brown Aug. 24, 2020 Dep.) at 22:17 to 23:18. In exchange for his testimony,

including testimony against Patrick Pursley, the federal prosecutor agreed to recommend a

sentence of 15 and a half years for Brown instead of 20. Ex. 95 (Brown dep., August 24, 2020)

at 24:20 to 25:8. Ex. 96 (Lester Brown plea agreement) at 12-13. Brown’s plea agreement

stated that he understood his “compliance with each part of this Plea Agreement extends

throughout and beyond the period of his sentence, and failure to abide by any term of the

Plea Agreement is a violation of the Agreement." Ex. 96 (Lester Brown plea agreement) at

15-16. Brown understood that his plea agreement required him to testify against Pursley at

the sentencing. Ex. 95 (Brown Aug. 24, 2020 Dep) at 46:12-17.

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is

therefore irrelevant to this case. DSOF 53 (Pursley arrest on June 16, 1993); DSOF 26

(Brown’s statement to police on December 29, 1993). See, e.g., Akbar v. City of Chicago, No.

06 C 3685, 2008 WL 5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an

individual committed one crime…does not foreclose a malicious prosecution claim for

additional prosecuting the individual on a separate charge.”) (citing Holmes v. Village of

Hoffman Estates, 511 F.3d 673, 682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-




                                             15
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 16 of 97 PageID #:7314




3707, 2019 Wl 1382101, at *4 (N.D. Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V

6362, 2013 WL 2598151, at *5 (N.D. Ill. June 11, 2013).

       26.     Brown’s Statement indicates that, once Pursley was arrested for the Ascher

homicide, Brown went to visit him in jail:

               He told me that this dude named Marvin was the guy that called
               Crime Stoppers and told. [on him] . . . Patrick said that he later told
               Marvin, after the bank robbery, about the murder that he (Patrick)
               had done. He said that Samantha had went with him to do the bank
               robbery. . . . Patrick then told me that he had either $17,000 or
               $14,000 and he told me that if I would go kill Marvin that he would
               clear my $3,000 debt to him and we would split the rest of the
               money. He told me that Marvin and Samantha are the only
               witnesses that can give him the death penalty. . . . He told me where
               Marvin lived.

(Ex. 7 at 000285-286).

       RESPONSE: Undisputed only to the extent this statement quotes the December 29,

1993 statement signed by Lester Brown. Denied to the extent that this statement relies on

inadmissible hearsay without exception and denied to the extent that this statement does not

reflect reliable evidence implicating Pursley of these crimes. Also denied as to the underlying

facts, for example, Pursley did not ask Brown to kill Windham. Ex. 1 (Pursley) 111:4-11. As

another example, in his December 17, 1993, letter to Koski, Brown stated that he found out

where Marvin lived through Patrick’s girlfriend. Ex. 97 (1993-12-17 L. Brown Letter to D.

Koski). But in his December 29, 1993 statement, quoted above, he stated that Pursley told

him where Marvin lived. Ex. 98 (1994-07-15 Lester Brown Testimony Sentencing Hearing)

at RFD Defense 286-87. Brown also supposedly learned this information in June 1993, but

did not tell the police anything about this information he had in June, July, August,

September, October, or November 1993. He waited until he faced federal charges in

December 1993. Ex. 95 (Brown Aug. 24, 2020 Dep) at 27:14-19. Plaintiff also clarifies that in



                                                 16
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 17 of 97 PageID #:7315




addition to providing information about Patrick, as part of his plea agreement, Brown told

federal prosecutors where the money stolen from the bank was located and they recovered

it. Ex. 94 (Brown dep. Oct. 30, 2019) at 37:1-11.

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at the

time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is therefore

irrelevant to this case. DSOF 53 (Pursley arrest on June 16, 1993); DSOF 26 (Brown’s

statement to police on December 29, 1993). See, e.g., Akbar v. City of Chicago, No. 06 C 3685,

2008 WL 5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual

committed one crime…does not foreclose a malicious prosecution claim for additional

prosecuting the individual on a separate charge.”) (citing Holmes v. Village of Hoffman

Estates, 511 F.3d 673, 682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019

Wl 1382101, at *4 (N.D. Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013

WL 2598151, at *5 (N.D. Ill. June 11, 2013).

       27.    Brown testified that Pursley wanted Marvin Windham killed because Marvin had

snitched on him. (Ex. 6, Brown Dep. #2 at 101:11-102:24). Brown testified that he subsequently

went to the location where Marvin lived but never did locate him, and Brown left when he got cold

feet. (Id.; Ex. 7 at 000285-286; & Ex. 5, Brown Dep. #1 at 30:4-24).

       RESPONSE: Denied. This statement does not clarify that Brown was not called to

testify at Pursley’s trial in 1994 and the statement refers to Brown’s 2019 and 2020

depositions. Undisputed that Brown testified to this at his 2019 and 2020 depositions. Denied;

Pursley did not ask Brown to kill Windham. Ex. 1 (Pursley Dep.) 111:4-11. Also denied

because this statement is inconsistent with Brown’s December 29, 1993 statement which only




                                               17
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 18 of 97 PageID #:7316




says that Brown went to Rockton Avenue, asked a girl there if she knew Marvin, she said no,

and Brown “left and went home.” Ex. 99 (Brown December 19, 1993 Statement) at 286.

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at the

time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is therefore

irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL 5272463,

at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed one

crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013).

       28.     Brown’s Statement goes on to indicate that Pursley subsequently had Samantha

Crabtree contact Brown to ask him to rob a bank with her to raise money for Pursley—the same

bank that she and Pursley had previously robbed together. (Ex. 7 at 000286).

       RESPONSE: Undisputed that this was in Brown’s December 19, 1993 statement.

Denied because this statement relies on inadmissible hearsay. Denied because Brown told the

State’s attorney in 2018 that he decided to rob the bank because Patrick had robbed it and

gotten away with it, not to raise money for Pursley. Ex. 100 (State’s attorney notes from

November 11, 2018 meeting with L. Brown).

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at the

time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is therefore




                                               18
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 19 of 97 PageID #:7317




irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL 5272463,

at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed one

crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013).

       29.     Brown’s Statement indicates that Crabtree walked him through how she and

Pursley had robbed the bank the last time, and drove him around the area to show him the getaway

route she and Pursley had previously used. Id. During that drive, Samantha Crabtree pointed out

the location where “Patrick killed that guy.” (Ex. 7 at 000286-287). Brown understood Crabtree’s

reference to “that guy” to mean Andrew Ascher. (Ex. 6, Brown Dep. #2, at 95:12-18). She told

Brown that she was the lookout that night on what was supposed to be a burglary, but that she saw

Pursley rob a white guy in his car in front of a house and shoot him in the head before Pursley ran

back to the car, got in, and they left. (Ex. 7 at 000286-287).

       RESPONSE: This statement of fact contains four separate facts with citations to

separate sources. For the sake of clarity, Plaintiff breaks this SOF into its component

sentences and addresses them individually. For the first sentence, it is undisputed that this is

in Brown’s statement. For the second sentence, it is undisputed that Brown claimed Crabtree

said this statement, but it is not clear what location Crabtree was pointing to (the statement

just says it was three blocks passed a McDonalds on Harrison) and Plaintiff disputes that

Patrick Pursley killed anyone. Also denied that Crabtree pointed out anywhere that Patrick

had killed someone. See e.g., Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 416:2-14. The third




                                                 19
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 20 of 97 PageID #:7318




statement is denied because the statement does not indicate how Brown interpreted this. Ex.

99 (Brown December 19, 1993 statement) at 286. The fourth sentence is denied because it is

not supported by Brown’s December 29, 1993 statement. It is also denied because while he

says she told him she heard Pursley say “Give me your wallet.” Ex. 99 (Brown December 19,

1993 Statement) at RFD Defense 286-87. This is not what the shooter said. Ex. 39 (George

testimony 1994.04.21 ) at 141:2-144:1 Plaintiff also denies that Plaintiff clarifies that Brown

did not testify to anything in this statement during his testimony at Patrick’s sentencing. See

Ex. 99 (Brown December 19, 1993 Statement) at 286-87; Ex.98 (Brown Testimony Sentencing

Hearing 1994-07-15) at RFD Defense 2340-2506. Plaintiff objects to the statement in its

entirety because it relies on inadmissible hearsay.

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is

therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL

5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed

one crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013).

       30.     Brown’s Statement goes on to indicate that the day after Samantha Crabtree told

him how to go about robbing the bank, he robbed it with Samantha Crabtree’s sister, Theresa

Crabtree. (Ex. 7 at 000286-287). The date of the bank robbery was September 15, 1993, according




                                              20
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 21 of 97 PageID #:7319




to the plea agreement he eventually entered into. (Ex. 64 at Pursley 025896). The money from the

bank robbery was supposed to be used in part to extinguish the drug debt Brown owed Pursley.

Ex. 7 at 000289. However, Brown was arrested for the bank robbery, and Samantha Crabtree was

unable to find the proceeds from the bank robbery, despite Brown calling her and telling her where

he had hidden it. Id.

       RESPONSE: Denied because this statement relies on hearsay without exception.

Plaintiff’s further objects to this statement as irrelevant. Undisputed as to the date of the

robbery in the plea agreement. Denied that money from the robbery was supposed to go to

Pursley. Brown told the State’s Attorney that he robbed the bank with Theresa Crabtree,

with whom he was having a sexual relationship, because Pursley had done it and gotten away

with it. Ex. 100 (State’s attorney notes from November 11, 2018 meeting with L. Brown).

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is

therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL

5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed

one crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013).

       31.     Brown’s Statement goes on to indicate that, while in jail awaiting bank robbery

charges, Brown was approached by a member of the Vice Lords street gang, Olen Bell. (Ex. 7 at




                                               21
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 22 of 97 PageID #:7320




000287-288). Bell was reportedly just in prison in Joliet where Patrick Pursley spoke to him about

his problem with Marvin Windham, before Bell was transferred to the same jail that Brown was

serving time in. Id. Bell told Brown that Pursley had offered Bell money to speak to his fellow

Vice Lord brother Marvin, who had called Crime Stoppers and implicated Pursley in the Ascher

murder. Id. Brown told Bell that Pursley did not have any money to pay Bell for talking to

Windham. Id.

       RESPONSE: Disputed. Pursley did not know Olen Bell. Ex. 1 (Pursley Dep.) at

111:12-112:2. Disputed further because this statement misrepresents the substance of

Brown’s Statement, and assumes that the information within Brown’s Statement is true.

Denied further because this statement relies on inadmissible hearsay and double hearsay

without exception.

       Object to the Defendants’ reliance on this statement at summary judgment because

it is immaterial: Defendants did not rely on it during their investigation – it did not exist until

several months after Plaintiff was charged – and it has no relevance to their course of

conduct. The State did not call Brown to testify at Pursley’s 1994 murder trial, and this

statement had not been made at the time Pursley was charged, so it did not form the basis

for Pursley’s arrest, and is therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago,

No. 06 C 3685, 2008 WL 5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe

an individual committed one crime…does not foreclose a malicious prosecution claim for

additional prosecuting the individual on a separate charge.”) (citing Holmes v. Village of

Hoffman Estates, 511 F.3d 673, 682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-

3707, 2019 Wl 1382101, at *4 (N.D. Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V

6362, 2013 WL 2598151, at *5 (N.D. Ill. June 11, 2013).




                                                22
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 23 of 97 PageID #:7321




          32.    The Statement Brown provided to the police was made in the presence of Brown’s

own attorney, it was not coerced in any way, and it is truthful. (Ex. 5, Brown Dep. #1 at 19:4-

21:10).

          RESPONSE: Denied. This statement ignores Brown’s testimony that he reached out

to the State’s Attorney’s in 1993 while he was in jail. Ex. 95 (Brown dep. August 24, 2020) at

22:17-23:18. While Brown testified at Pursley’s sentencing hearing that Brown had already

been sentenced so he was not getting anything by testifying then and Koski had no leverage

over him, this was inaccurate. Ex. 98 (Brown 1994.7.15 sentencing testimony) at RFD

Defense 2463:17-2464:3, RFD Defense 2500:1-6. Brown’s plea agreement stated that he

understood his “compliance with each part of this Plea Agreement extends throughout and

beyond the period of his sentence, and failure to abide by any term of the Plea Agreement is

a violation of the Agreement." Ex. 96 (Plea Agreement) at 15-16. Brown understood that his

plea agreement required him to testify against Pursley at the sentencing. Ex. 95 (Brown dep.

August 24, 2020) at 46:12-17

          Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is

therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL

5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed

one crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.




                                                23
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 24 of 97 PageID #:7322




Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013).

       33.     Brown testified at Patrick Pursley’s sentencing hearing in the murder case, and

testified consistently with his written Statement about Pursley’s plot to have Windham murdered.

(Ex. 8, Lester Brown’s July 15, 1994 testimony at Pursley’s sentencing hearing, at 005889-5892).

       RESPONSE: Undisputed that Brown testified at Pursley’s sentencing hearing and

not at either of his criminal trials. Otherwise denied because Pursley had no plot to have

Windham murdered and because Brown’s testimony was not consistent with his December

29, 1993 statement. For example, in the statement Brown said Pursley offered him $17,000

or $14,000 but in his sentencing testimony he said it was either $14,000 or $15,000. See Ex.

99 (Brown December 19, 1993 Statement) at RFD Defense 285; Ex. 98 (Brown Sentencing

Test.) at RFD Defense 002460:20-23.

       Further, Plaintiff objects because this statement is immaterial. The State did not call

Brown to testify at Pursley’s 1994 murder trial, and this testimony had not been given at the

time Pursley was charged (or even convicted), so it did not form the basis for Pursley’s arrest,

and is therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008

WL 5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual

committed one crime…does not foreclose a malicious prosecution claim for additional

prosecuting the individual on a separate charge.”) (citing Holmes v. Village of Hoffman

Estates, 511 F.3d 673, 682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019

Wl 1382101, at *4 (N.D. Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013

WL 2598151, at *5 (N.D. Ill. June 11, 2013).

C.     Olen Bell




                                               24
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 25 of 97 PageID #:7323




       34.    Olen Bell was interviewed by Detectives Howard Forrester and Mark Schmidt

(Defendants in this case) on October 29, 1993, and provided them with a written Statement about

Pursley’s plot to have Windham killed. (Ex. 34, Detective Mark Schmidt Dep. at 265:7-269:1; Ex.

9, Olen Bell’s Oct. 29, 1993 Statement and the related police report). In his Statement, Bell

indicated that he was a high ranking member of the Vice Lords street gang. (Ex. 9 at 000276). He

was sent to prison in Joliet, Illinois on September 2, 1993, for a parole violation. Id. While in

prison in Joliet, Bell was informed that a fellow inmate named Patrick (Pursley) wanted to speak

with him. Id. He was told that Pursley wanted to talk to him because “one of my people” (a fellow

Vice Lord) had reportedly signed a statement against him and snitched. Id.

       RESPONSE: Plaintiff objects because this statement is immaterial. The State did not

call Bell to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is

therefore irrelevant to this case. See DSOF 53 (Pursley arrest on June 16, 1993); DSOF 34

(Bell’s statement to police on October 29, 1993). See, e.g., Akbar v. City of Chicago, No. 06 C

3685, 2008 WL 5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an

individual committed one crime…does not foreclose a malicious prosecution claim for

additional prosecuting the individual on a separate charge.”) (citing Holmes v. Village of

Hoffman Estates, 511 F.3d 673, 682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-

3707, 2019 Wl 1382101, at *4 (N.D. Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V

6362, 2013 WL 2598151, at *5 (N.D. Ill. June 11, 2013).

       Further disputed because (1) Pursley did not know Olen Bell, Ex. 1 (Pursley Dep.) at

111:12-112:2; (2) this statement relies on hearsay without exception; and (3)

mischaracterizes Bell’s statements to police and Defendant Schmidt’s deposition testimony.




                                               25
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 26 of 97 PageID #:7324




       35.     Bell’s Statement goes on to say that he visited Pursley in his cell. At that time,

Pursley told him that a guy named Marvin gave a statement against him for killing a white man.

(Ex. 9 at 000277). Pursley told Bell that he knew Marvin was the one who gave a statement against

him because Marvin was the only one that he had told about it. Id. Bell indicated that Pursley said,

“If you could get rid of Marvin, I would be in the clear. . . . I will give you $2,000 to get rid of

Marvin any way you can, so he can’t testify against me.” Id.

       RESPONSE: Plaintiff objects because this statement is immaterial. The State did not

call Bell to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and was

therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL

5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed

one crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013). Further, denied because this statement relies on hearsay without

exception and mischaracterizes Bell’s statements to police.

       36.     Bell’s Statement goes on to state that Pursley subsequently gave Bell Marvin’s

address, Marvin’s mother’s name and address, and Pursley’s “wife” Samantha’s address and phone

number. Id. Pursley told Bell that Samantha would give Bell additional information about how to

find Marvin. Id. Pursley also told Bell about how he had shot the “white dude” during a stick up,

which is why they were seeking the death penalty against him, and why it was “important that




                                                26
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 27 of 97 PageID #:7325




Marvin does not show up to testify.” Id. at 278. Bell told Pursley that he would “take care of it

because Marvin is one of my people.” Id.

       RESPONSE: Plaintiff objects because this statement is immaterial. The State did not

call Bell to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and was

therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL

5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed

one crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013). Otherwise denied because this statement relies on hearsay without

exception and mischaracterizes Bell’s statements to police.

       37.    Bell’s statement goes on to state that he was subsequently back in the Winnebago

County Jail in the same section as “Latee” (Lester Brown), when Brown told him Pursley doesn’t

have any money. Id. at 278-279.

       RESPONSE: Plaintiff objects because this statement is immaterial. The State did not

call Bell to testify at Pursley’s 1994 murder trial, and this statement had not been made at

the time Pursley was charged, so it did not form the basis for Pursley’s arrest, and is

therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL

5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed

one crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,




                                               27
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 28 of 97 PageID #:7326




682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013). Otherwise, denied because this statement relies on hearsay without

exception and mischaracterizes Bell’s statements to police.

D.     Robert Poe

       38.     On June 8, 1993, Robert Poe reported that an individual with two guns shot out his

television set at 609 Woodlawn in Rockford. (Ex. 62, Scott Dep. at 130:4-131:14; Ex. 10 at

000244, June 28, 1993 Police Report by Bruce Scott). He identified the shooter in a manner that

matched the description of Patrick Pursley, identified the shooter’s residence as being in the area

of Pursley and Samantha Crabtree’s residence, identified the shooter’s car as matching Samantha

Crabtree’s, and identified its license plate within one digit of Samantha Crabtree’s. Id. Poe was

presented with a photo lineup including a photo of Pursley, and he identified Pursley as the shooter.

Id.

       RESPONSE: Denied because this statement relies on hearsay without exception.

Plaintiff objects because this statement is immaterial. The State did not call Mr. Poe to testify

at Pursley’s 1994 murder trial, and Plaintiff’s alleged participation in an unrelated crime is

irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008 WL 5272463,

at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual committed one

crime…does not foreclose a malicious prosecution claim for additional prosecuting the

individual on a separate charge.”) (citing Holmes v. Village of Hoffman Estates, 511 F.3d 673,

682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019 Wl 1382101, at *4 (N.D.

Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013 WL 2598151, at *5 (N.D.

Ill. June 11, 2013).




                                                 28
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 29 of 97 PageID #:7327




       Also denied as to the substance. The cited police report does not include any

description that Mr. Poe provided. Ex. 34 (1993.6.28 Scott Report) at 244. It also does not

describe how many photos were in the photo line-up or how the line-up was conducted. Ex.

34 (1993.6.28 Scott Report) at 244. Also denied because the evidence technician sent to the

scene initially reported that he could not locate any cases or bullet fragments. Ex. 101

(1993.6.9 609 Woodlawn Report) at 124. Also denied because Detective Hackbarth stated in

his June 8, 1993 report that Poe told him the suspect had “a larger blue revolver (poss a .357

cal),” Ex. 102 (1993.06.08 Report) at 120, and it was Forrester who wrote in his June 10, 1993

affidavit for a search warrant, without evidence, the Poe perpetrator had what looked like

two black “large caliber semi-automatic” guns, one in each hand, Ex. 17 (Forrester Search

Warrant Affidavit) at Pursley 720.

E.     Execution of Search Warrant and Attempted Execution of Arrest Warrant

       39.     In pursuit of evidence of Pursley and Samantha Crabtree’s possible involvement in

the murder of Andrew Ascher and the robbery of the First Bank North bank, Detective Forrester

sought a search warrant authorizing the police to search their residence at 901 Ashland, in

Rockford. (Ex. 65, Sgt. Stephen Pirages Dep., 307:7-308:16); (Ex. 11, June 10, 1993 Complaint

for Search Warrant). The complaint for a search warrant noted that forensic scientist Jack Welty,

with the Illinois State Police Crime Lab, had opined that the shell casings left at the scene of the

Ascher homicide most likely came from a Taurus brand handgun, which is one of the handguns

Samantha Crabtree was on record as owning. (Ex. 11, at 154-156). Chief Judge Harris Agnew

found probable cause for the search and issued a search warrant on June 10, 1993. Id. & (Ex. 12,

June 10, 1993 Search Warrant). An arrest warrant was also issued for Patrick Pursley on June 10,

1993, in relation to the Woodlawn shooting. (Ex. 10 at 000245).




                                                29
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 30 of 97 PageID #:7328




       RESPONSE: Disputed. The search warrant stated, “based on the firing pin

impression left on the casings, Welty believed it was more likely that the casings were fired

from a Taurus brand handgun.” Ex. 17 (Forrester Search Warrant Affidavit) at 12. Also

denied because Defendant Pirages’s deposition does not address Forrester’s purpose for

seeking the search warrant. Ex. 22 (Pirages Dep.) at 307:7-308:16.

       40.     On June 10, 1993, the Police staked out the 901 Ashland residence, and proceeded

to follow a female that left the residence in a Chevy Celebrity with the suspect, Patrick Pursley.

(Ex. 62, Scott Dep., 166:15-167:20; Ex. 10 at 000244-245). The car eventually stopped, Pursley

jumped out and ran off between the houses in the area. Id. He eluded arrest that day. Id. The

woman who remained at the scene was Samantha Crabtree, who the police presented with the

search warrant for her and Pursley’s residence at 901 Ashland. Id. The search warrant was read to

her at 2:43 PM on June 10, 1993. (Ex. 13 at 000112, Detective Forrester’s June 18, 1993 Report

re Crabtree interview and Statement). Detective Forrester’s police report (Ex. 13) fairly and

accurately summarizes Detective Forrester’s and Schmidt’s interactions with Samantha Crabtree

on June 10, 1993. (Ex. 34, Schmidt Dep., 278:22-279:8). Rockford police and an FBI agent

searched the 901 Ashland residence once they presented the warrant to Samantha Crabtree. (Ex.

10 at 000244-245).

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Also denied because Detective Forrester’s and Detective

Schmidt’s interactions with Samantha Crabtree are a matter of dispute between the Parties.

See Ex. 25 (Crabtree Affidavit); Ex. 18 (Crabtree 1994 Test., Day 1); Ex. 6 (Crabtree 1994

Trial Test., Day 2); PSOF 8-40. Plaintiff clarifies that Detective Forrester’s report of his




                                               30
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 31 of 97 PageID #:7329




interactions with Crabtree is dated eight days after that interaction. Ex. 19 (1993.06.18

Forrester Report).

       41.        Among the evidence seized from the residence were two 9mm handguns, including

a Taurus model, and (later) a black Samsonite briefcase. (Ex. 10 at 000245). Samantha Crabtree

identified the briefcase as having been taken from the stolen car that she and Pursley used to rob

the First Bank North bank. (Ex. 10 at 000245). Raymond Swaagstra, the owner of the stolen car

and briefcase, was subsequently presented with the briefcase recovered from Samantha Crabtree

and Pursley’s residence, and he identified it as the one that he had left in his car when it was stolen.

Id. at 245-246.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s and Raymond Swagstraa’s statements. Admitted that RPD seized two

9mm handguns and a black Samsonite briefcase, subject to the clarification that RPD did

not follow proper evidence-collection procedure when it collected the Taurus. See PSOF 12-

13.

F.     Samantha Crabtree’s Statements

       42.        After she attended the search of her residence and assisted the police in locating

one of the two guns located there on June 10, 1993, Samantha Crabtree voluntarily went to the

detective division at the Public Safety Building for an interview with Detectives Forrester and

Schmidt. (Ex. 34, Schmidt Dep. at 162:4-16; 166:13-167:5; Ex. 13 at 000111-112). She arrived

at the PSB at 3:15 PM on June 10, 1993. (Ex. 34, Schmidt Dep. at 151:20-152:10). Samantha

Crabtree initially disclaimed any knowledge of Pursley’s role in the Ascher murder, the First Bank

North bank robbery, and the Burger King robbery that Pursley was suspected of committing. (Ex.

13 at 000113-115). She was subsequently shown photos of the individual who robbed the bank




                                                  31
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 32 of 97 PageID #:7330




and was told that the police had reason to believe it was Pursley, and that he used her car to rob

the bank. Id. at 000112-113. She acknowledged that the robber in the photos looked like Pursley,

and said that the robber was wearing the same kinds of boots he wears, has a portable police

scanner like Pursley’s, and a sweatshirt like Pursley’s. Id.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Also denied because whether Samantha Crabtree went

voluntarily to the police station is a disputed matter, see Ex. 25 (Crabtree Affidavit); Ex. 6

(Crabtree 1994 Test., Day 2); PSOF 8-40; Ex. 21 (Clark Report) at 27-31 (Crabtree’s

statements bear the hallmarks of coercion), and Crabtree’s voluntariness is a legal

determination.

       43.     Samantha Crabtree was read her rights at approximately 5:20 PM on June 10, 1993.

(Ex. 13 at 000115). The detectives told her that they did not believe she was giving them the entire

truth, and asked her to be completely honest. (Ex. 13 at 000115-116). By 5:40 PM she had given

the police a complete verbal account of how she and Pursley had robbed the bank. Id. at 000116.

By 5:55 PM on June 10, 1993, she gave the police a complete verbal account of her and Pursley’s

role in the Ascher murder, admitting that she drove Pursley to the area where Ascher was killed,

saw Pursley exit the vehicle, she heard gunshots, he came running back to the car, and they drove

off together. Id. She then told the police that Patrick had also admitted to her that he was

responsible for the Burger King robbery. Id.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Denied to the extent that Patrick Pursley had no role in

Andrew Ascher’s murder. PSOF 1. Denied because the police report relied on conclusively

asserts that Crabtree gave complete accounts of various crimes; it does not list the whole




                                                32
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 33 of 97 PageID #:7331




accounts. See Ex. 19 (1993.06.18 Forrester Report) at 116. Further, denied because Crabtree

did not voluntarily or affirmatively provide this information. See Ex. 25 (Crabtree

Affidavit); Ex. 6 (Crabtree 1994 Trial Test., Day 2); PSOF 8-40; Ex. 21 (Clark Report) at 27-

31 (Crabtree’s statements bear the hallmarks of coercion); P. Resp. to DSOF 48.

       44.     At 6:35 PM on June 10, 1993, Samantha Crabtree and Detectives Forrester and

Schmidt left the detective division so that she could show the detectives the locations where she

and Pursley were when they participated in the Ascher homicide and the bank robbery. Id. She

pointed out where she parked and waited for Pursley during the murder, and the route she took

when driving Pursley away from the crime scene, while Pursley was hiding on the floorboard of

the car. Id. She pointed out where Pursley had stolen the car from the night before he used it in

the bank robbery, and where she parked while waiting for him to rob the bank. Id. at 000116-117.

She told Detectives Forrester and Schmidt about the briefcase from the stolen car, which was in

her and Pursley’s residence at the time. Id. at 000117.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Denied to the extent that Patrick Pursley had no role in

Andrew Ascher’s murder. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 416:2-14. For the

second sentence, denied that Samantha showed them where she parked. Ex. 18 (Crabtree

1994 Trial Test., Day 1) at 391:18-392:5. Further, denied because Crabtree did not

voluntarily or affirmatively provide this information. See Ex. 25 (Crabtree Affidavit); Ex. 6

(Crabtree 1994 Trial Test., Day 2); PSOF 8-40; Ex. 21 (Clark Report) at 27-31 (Crabtree’s

statements bear the hallmarks of coercion); P. Resp. to DSOF 48.

       45.     At 7:45 PM on June 10, 1993, Samantha Crabtree, Forrester and Schmidt returned

to the detective division interview room, having photographed the relevant places that she had




                                                33
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 34 of 97 PageID #:7332




pointed out during their drive. Id. at 000117. At 8:06 PM, Samantha Crabtree signed a consent to

search form, allowing the police to return to her and Pursley’s residence and seek out the briefcase

she had described. Id. Throughout the interview, and during their drive, the detectives offered

Samantha Crabtree food and drink on multiple occasions, but she declined. Id.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Denied that Crabtree did not point out any places to

Defendants; Defendants pointed out the relevant places to Crabtree. Ex. 25 (Crabtree

Affidavit) at Pursley 014250. Denied to the extent that Patrick Pursley had no role in Andrew

Ascher’s murder. PSOF 1. Further denied because the term “relevant places” calls for a legal

conclusion and is also not supported by the cited report which states, “polaroids were taken

off various locations.” See Ex. 19 (1993.06.18 Forrester Report) at 116. Further, denied

because Crabtree did not voluntarily or affirmatively provide this information. See Ex. 25

(Crabtree Affidavit); Ex. 6 (Crabtree 1994 Trial Test., Day 2); PSOF 8-40; Ex. 21 (Clark

Report) at 27-31 (Crabtree’s statements bear the hallmarks of coercion); P. Resp. to DSOF

48.

       46.     At 8:08 PM on June 10, 1993, Detectives Forrester and Schmidt escorted Samantha

Crabtree to the I.D. section, where they were joined by Detective Houde for purposes of having

her view various items that had been recovered during the search of her and Pursley’s residence at

901 Ashland. Id. She identified clothing Pursley wore during the bank robbery and during the

murder, and identified the Taurus handgun as the one Pursley used to murder Andrew Ascher. Id.

She was returned to the interview room, given a pop and cigarettes. Id.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Denied to the extent that Patrick Pursley had no role in




                                                34
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 35 of 97 PageID #:7333




Andrew Ascher’s murder. PSOF 1. Denied that Samantha identified clothing that was worn

during the Ascher murder. Ex. 6 (Crabtree 1994 Test., Day 2) at 445:10-446:10. Samantha

identified that clothing that was present at the station and belonged to Patrick and not her,

not that it was worn during the murder. Ex. 6 (Crabtree 1994 Test., Day 2) at 444:1-7. In

fact, the sweatshirt Defendants seized and was at the lock-up—a pullover—did not match

the description Rebecca George provided of her attacker’s zip-up sweatshirt with the zipper

unzipped. See Ex. 20 (Houde Dep.) at 93:19-21; Ex. 128 (1993.4.3. Scott Report) at 173-74.

Also denied because the Taurus was determined to be inconsistent with the bullets and

casings found at the Ascher murder scene. PSOF 123-131.

       47.    Beginning at 8:25 PM on June 10, 1993, Detective Schmidt began the process of

taking a written Statement from Samantha Crabtree about the murder. (Ex. 34, Schmidt Dep.,

232:1-234:19; Ex. 14, Samantha Crabtree’s June 10, 1993 Statement to police regarding Ascher

murder). Once completed, Crabtree read it, Detective Forrester asked her if it was correct, she

said that it was, and she signed page 1 at 11:10 PM, page 2 at 11:15 PM, page 3 at 11:18 PM, page

4 at 11:20 PM, page 5 at 11:23 PM, and page 6 at 11:25 PM. (Ex. 13 at 000117-118); (Ex. 14).

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Denied to the extent the statement indicates that Crabtree

wrote her statement; Schmidt typed it. Ex. 11 (Schmidt Dep.) 210:20-22. Also denied that the

contents were provided by Samantha - many of the details were provided by or modified by

Detective Schmidt. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 445:3-446:10. They also

pushed Crabtree to add facts about certain topics that they brought up. For example,

Schmidt pushed Crabtree to add facts about what Pursley supposedly did with the gun after

they returned home. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 463:6-20. Further, denied




                                               35
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 36 of 97 PageID #:7334




because Crabtree did not voluntarily or affirmatively provide this information. See Ex. 25

(Crabtree Affidavit); Ex. 6 (Crabtree 1994 Trial Test., Day 2); PSOF 8-40; Ex. 21 (Clark

Report) at 27-31 (Crabtree’s statements bear the hallmarks of coercion); P. Resp. to DSOF

48.

       48.     Samantha Crabtree’s Statement indicates in relevant part that she drove Pursley

around on the night of the murder looking for places to break into. (Ex. 14 at 002963). It states

that Pursley had her park on Silent Wood (near the site of the murder), he got out, two or three

minutes later she heard two gun shots, and that about a minute later he got back in the car, sat on

the floorboard of the passenger side of her car, and told her to drive. Id. at 002964-2965. When

Pursley got into the car, he had the Taurus handgun in his hand, and Crabtree figured he had shot

somebody. Id. at 2965. Crabtree stated that when she ran a stop sign and ran over a median, Pursley

pointed the gun at her and said, “if you get me caught, I will kill you, I swear, I’ll kill you right

now.” Id. Crabtree further stated that, when they saw police cars with their lights and sirens on,

he said “where are you taking me, if your [sic] taking me back there, I’ll kill you Sam, I swear I’ll

kill you,” and pointed the gun at her again. Id. In the days following, Pursley told Crabtree that if

the police caught him, and she said anything to them about what happened, he would come back

or have somebody kill her and her two children. Id. at 002967.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Denied to the extent the statement indicates that Crabtree

wrote her statement; Schmidt typed it, Ex. 11 (Schmidt Dep.) 210:20-22, and Crabtree

agreed to sign it under duress, see PSOF 8-40; Ex. 21 (Clark Report) at 27-31 (Crabtree’s

statements bear the hallmarks of coercion).




                                                 36
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 37 of 97 PageID #:7335




       Also denied because Crabtree’s statement was false and coerced. See generally,

PPSOF 8-40. Schmidt and Forrester told her that she knew what they wanted to hear, and

that they wanted her to help “nail Patrick.” Ex. 25 (Crabtree Affidavit); Ex. 6 (Crabtree

1994 Trial Test., Day 2) at 423:7-20. Crabtree averred that Defendants Schmidt and

Forrester used “abusive methods of questioning and coercion,” and that she was “physically,

emotionally and mentally unable to defend and assert [herself] against the unfair tactics….”

Ex. 25 (Crabtree Affidavit) at Pursley 014249. Crabtree averred that her children were used

as a device to influence her statement. Ex. 25 (Crabtree Affidavit). Schmidt and Schmidt and

Forrester told her that her children would be taken from her and by the time she got out of

prison, they “will have forgotten who you are.” Ex. 25 (Crabtree Affidavit) at Pursley

014249. Crabtree was suffering emotionally not only because of her pregnancy and the

pressure Defendants Schmidt and Forrester were putting on her, but because she feared legal

action against her. Ex. 25 (Crabtree Affidavit) at Pursley 014251. She felt like they were

wording everything to suit their own needs. Ex. 25 (Crabtree Affidavit) at Pursley 014251.

For instance, when she couldn’t remember things that they had discussed, they refreshed her

recollection with times, sequences of events, and quotes, and she merely agreed. Ex. 25

(Crabtree Affidavit) at Pursley 014251. Defendants Schmidt and Forrester told Crabtree

that if she signed the statements, she could go home. Ex. 25 (Crabtree Affidavit) at Pursley

014251-014252. Additionally, Defendant Schmidt provided facts appearing in the statement.

Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 445:3-446:10; Ex. 18 (Crabtree 1994 Test., Day

1) at 364:19-365:23. Crabtree averred that once she came to understand what her statement

would be used for, she became filled with regret and remorse that they would be used to




                                            37
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 38 of 97 PageID #:7336




accuse “a man that I know was not connected” to the murder. Ex. 25 (Crabtree Affidavit) at

Pursley 014252.

       Denied specifically as to sentences two and three because Samantha and Pursley were

not part of the Ascher homicide. See e.g., Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 416:2-

14 (stating that Crabtree and Pursley were at home on the evening of April 2, 1993 when the

Ascher homicide happened).

       Denied as to the fourth through sixth sentences; these threats were fabricated. Ex. 6

(Crabtree 1994 Trial Test., Day 2) at 445:3-446:10, 458:23-459:14. Crabtree told detectives

what they wanted to hear. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 423:7-20. Also denied

because the Taurus was determined to be inconsistent with the bullets and casings found at

the Ascher murder scene. PSOF 123-131. Denied as to the last statement because Crabtree

stated in her August 6, 1993 affidavit that Patrick never threatened her or her children. Ex.

25 (Crabtree Affidavit) at Pursley 014257.

       49.     Beginning at 11:37 PM on June 10, 1993, Detective Schmidt began the process of

taking a written Statement from Samantha Crabtree about the bank robbery. (Ex. 13 at 000117;

Ex. 15, Samantha Crabtree’s June 10, 1993 Statement to police regarding bank robbery). Once

completed, Crabtree read it, Detective Forrester asked her if it was correct, she said that it was,

and she signed page 1 at 1:20 AM, page 2 at 1:23 AM, page 3 at 1:25 AM, and page 4 at 1:28 AM.

(Ex. 13 at 000117); (Ex. 15). Samantha Crabtree’s second written statement indicates in relevant

part that she helped Pursley rob the First Bank North bank by serving as his getaway driver. Id.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Also denied because Crabtree’s statement was false and




                                                38
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 39 of 97 PageID #:7337




coerced. See generally, PSOF 8-40; Ex. 21 (Clark Report) at 27-31 (Crabtree’s statements

bear the hallmarks of coercion); P. Resp. to DSOF 48.

       50.     Beginning at 1:30 AM on June 11, 1993, Detective Forrester began the process of

taking a third written Statement from Samantha Crabtree about the Burger King armed robbery.

(Ex. 13 at 000118; Ex. 16, Samantha Crabtree’s June 11, 1993 Statement to police re Burger King

robbery). Once completed, Crabtree read it, Officer Schmidt asked her if it was correct, she said

that it was, and she signed it at 1:51 AM. (Ex. 13 at 000118); (Ex. 16). Samantha Crabtree’s third

written Statement indicates in relevant part that Pursley admitted to robbing the Burger King on

Riverside on April 15, 1993. Id.

       RESPONSE: Denied because this statement relies on hearsay without exception as to

Samantha Crabtree’s statements. Denied that Samantha and Pursley robbed the burger

king. Ex. 32 (1993.4.15 Latham Report) at Schmidt 59 (witnesses described the Burger King

robber as white and male); see also PSOF 8-40; Ex. 21 (Clark Report) at 27-31 (Crabtree’s

statements bear the hallmarks of coercion); P. Resp. to DSOF 48.

       51.     Samantha Crabtree was charged with the armed robbery of the First Bank North

bank, and Pursley was charged with the first-degree murder of Andrew Ascher. (Ex. 13 at 000118).

Crabtree subsequently testified before a Grand Jury on June 23, 1993. (Ex. 36). She testified that

on the night Ascher was murdered, she drove Pursley to the area where Ascher was murdered for

purposes of finding a home to break into, Pursley got out of the car for a minute or two, during

which time she heard two gunshots. Id. She testified that Pursley then got back into the car with a

9mm handgun still in his hand, and they drove off together. Id. She testified that the day after the

murder, she asked Pursley if he knew who it was that he shot, and he told her “no.” She also

testified that, later that day, she and Pursley saw the news about the murder, at which time Pursley




                                                39
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 40 of 97 PageID #:7338




told her that if she told anyone, he would know and that he would have her and her children killed.

Id.

       RESPONSE: Undisputed as to the first sentence. Undisputed that sentences two, four

and five were in Crabtree’s grand jury testimony. Denied as to sentence three because in her

grand jury testimony Samantha Crabtree specified that Pursley had her 9mm Taurus in hand

when he returned to the car. Ex. 103 (Crabtree Grand Jury Testimony) at RFD Defendants

5240-41. Denied as to the underlying truth of these statements. Samantha and Patrick were

home on the night of April 2, 1993 when the Ascher murders happened, Ex. 18 (Crabtree

1994 Test., Day 1) at 356:23-357:6, and she was coerced into making this statement, see PSOF

8-40; P. Resp. to DSOF 48. Denied because this statement relies on inadmissible hearsay.

G.     Thomas “Tramp” McCoy

       52.     On June 14, 1993, Detectives Forrester and Scott interviewed Thomas “Tramp”

McCoy in relation to the shooting at 609 Woodlawn at Robert Poe’s residence. (Ex. 17, Detective

Forrester’s June 16, 1993 Report regarding McCoy interview). McCoy told the police that he was

present at Robert Poe’s house on June 8, 1993, when Pursley came over to recover some stolen

drugs, at which time McCoy observed Pursley threaten to blow the kneecaps off Poe, heard Pursley

fire his weapon in Poe’s house, and was told by Pursley that Pursley had “killed someone before.”

(Ex. 17).

       RESPONSE: Denied because this statement relies on hearsay without exception and

double-hearsay. The State did not call Mr. McCoy to testify at either of Pursley’s trials for

the Ascher murder and so he has never given sworn testimony subject to cross-examination

and Defendants have not been able to locate Mr. McCoy to provide testimony in this case,




                                                40
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 41 of 97 PageID #:7339




nor disclosed current contact information for Mr. McCoy during the time allowed for

discovery.

       Plaintiff objects because this statement is immaterial. The State did not call Mr. Poe

to testify at Pursley’s 1994 murder trial, and RPD did not rely on Poe’s statement during

their investigation into the Ascher homicide, so it did not form the basis for Pursley’s arrest,

and is therefore irrelevant to this case. See, e.g., Akbar v. City of Chicago, No. 06 C 3685, 2008

WL 5272463, at *3 (N.D. Ill. Dec. 12, 2008) ([P]robable cause to believe an individual

committed one crime…does not foreclose a malicious prosecution claim for additional

prosecuting the individual on a separate charge.”) (citing Holmes v. Village of Hoffman

Estates, 511 F.3d 673, 682 (7th Cir. 2007)); Roldan v. Town of Cicero, No. 17-CV-3707, 2019

Wl 1382101, at *4 (N.D. Ill. Mar. 27, 2019); Zolicoffer v. City of Chicago, No. cc V 6362, 2013

WL 2598151, at *5 (N.D. Ill. June 11, 2013).

       Also denied because the evidence technician sent to the scene reported that he could

not locate any casings or bullet fragments. Ex. 101 (1993.6.9 609 Woodlawn Report) at 124.

H.     Pursley’s arrest

       53.     At approximately 3:30 AM on June 16, 1993, an unidentified caller informed the

police that Pursley was in the Fairgrounds housing projects hiding from police in an abandoned

house, and that he may have a sawed-off shotgun. (Ex. 39, Officer Ron Gallardo Dep., 11:1-13:20;

Ex. 18, June 16, 1993 Police report by Sgt. Gibbons regarding Pursley arrest). Around 4:00 AM,

Pursley was located hiding under a wheelchair ramp affixed to an abandoned house in the area

described by the anonymous caller and taken into custody. (Id; Ex. 19 June 16, 1993 Police report

by Officer Gulley regarding Pursley arrest).




                                               41
     Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 42 of 97 PageID #:7340




         RESPONSE: Undisputed, but Plaintiff clarifies that the caller specified that Pursley

did not have any ammunition and Pursley was not found with a sawed-off shotgun when he

was arrested. See Ex. 19 (June 18, 1993 Forrester Report) at 13; Ex. 104 (Supplement Report

6.16.1993 Gibbons) at 3.

         54.    Pursley was interviewed by detectives Forrester and Hanson at 6:20 AM on June

16, 1993. (Ex. 40, Detective Greg Hanson Dep, 168:9-170:22; Ex. 13 at 000119-120). During his

interview, Pursley did not offer any alibis supportive of his innocence, though he denied any

involvement in the Ascher murder, the bank robbery, and the Burger King robbery. (Id.; see also

Ex. 21, Pursley Dep. at 63:22-64:24; 83:17-84:7). Pursley was turned over to the jail at 8:00 AM.

(Ex. 13 at 000119-120). Pursley was not coerced, threatened, or abused in any way, nor deprived

of any of his rights during his interrogation. (Ex. 21, Pursley Dep. at 135:1-138:1).

         RESPONSE: Denied. Pursley repeatedly asked for his lawyer during his

interrogation. Ex. 1 (Pursley Dep.) at 64:4-19. Pursley’s hands and legs were cuffed during

the encounter. See 19 (June 18, 1993 Forrester Report) at 13. Further denied because the

cited portion of Pursley’s deposition does not even address his interrogation by police on

June 16, 1993, much less support any finding that he was not coerced, threatened, or abused

during it. See Ex. 1 (Pursley’s Dep.) 135:1-138:1.

I.       Samantha Crabtree’s release

         55.    After she was released, Detective Forrester met with Samantha Crabtree on August

5, 1993, at the Detective Division to facilitate returning her car to her. (Ex. 20, August 9, 1993

Forrester Report re Crabtree). During their meeting, Crabtree recounted an incident in February

1993, when she and Pursley had gotten into a dispute over his ongoing use of crack cocaine. Id. at

267-269. On the night in question, she took his cocaine and cash, and left with it, spending the




                                                42
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 43 of 97 PageID #:7341




night away from Pursley in a hotel. Id. Upon her return the next morning without the cocaine,

Pursley started beating her with his fists. Id. At one point, she turned to leave and she heard a

“click.” Id. She turned to see Pursley standing there with her gun in his hand pointed at her. Id.

She had emptied its ammunition before bringing it into their residence that morning. Id. At one

point when he was beating her, she fell to the ground and he began kicking her. Id.

        RESPONSE: Undisputed that this is what Forrester’s August 9, 1993 report says.

Denied as to the underlying facts about Crabtree’s February 1993 injuries. The police report

from Samantha’s February 1993 injuries state that her sister’s boyfriend beat her and

caused these injuries. Ex. 106 (1993.2.22 Crabtree Battery Report).

        56.     On August 5, 1993, Samantha Crabtree told Detective Forrester that Pursley beat

her so badly that day in February that she needed to go to the hospital. Id. As a result of the beating,

she suffered from a concussion, two black eyes, her mouth was swollen, and she was stiff and sore

all over. Id. She also needed an emergency appendectomy two weeks after the beating. Id. Crabtree

told Detective Forrester that she lied to hospital staff and said that her sister’s boyfriend beat her

up rather than admit to the hospital that it was Pursley who did. Id.

        RESPONSE: Denied. The police report from Samantha’s February 1993 injuries

state that her sister’s boyfriend beat her and caused these injuries. Ex. 106 (1993.2.22

Crabtree Battery Report).

        57.     Samantha Crabtree also told Detective Forrester on August 5, 1993 that, since her

release, she had visited Pursley in jail, and that “he is mad at her for talking.” Id.

        RESPONSE: Undisputed that Pursley told Crabtree he was mad that she told the

police he was involved in the murder but denying that Crabtree interpreted this as a threat.

See Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 481:18-482:2




                                                  43
     Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 44 of 97 PageID #:7342




J.       Pursley’s Deposition

         58.    Patrick Pursley was deposed in this case on December 9, 2020. (Dec. 9, 2020

Patrick Pursley deposition transcript Ex. 21).          During his deposition, he invoked his Fifth

Amendment Right against self-incrimination and refused to answer questions regarding the

following topics:

                a. Whether Pursley and Lester “Latee” Brown committed crimes together (Ex. 21
                   at 36:12-37:4);

                b.    Whether Pursley and Marvin Windham committed crimes together (Ex. 21 at
                     37:7-11);

                c. Whether Pursley and Samantha Crabtree committed crimes together (Ex. 21 at
                   37:12-16);

                d.    Whether he robbed the First Bank North bank with Samantha Crabtree in 1993
                     (Ex. 21 at 70:22-71:3; 71:4-72:15; 150:2-18);

                e. Whether he used illegal drugs including crack cocaine in 1993 (Ex. 21 at 74:11-
                   20) and whether he uses marijuana and other illicit substances (Ex. 21 at 140:6-
                   10);

                f. Whether he knew Robert Poe and Thomas “Tramp” McCoy in 1993 (Ex. 21 at
                   77:21-78:6);

                g. Whether he threatened Robert Poe with two handguns and shot out his TV on
                   June 8, 1993 (Ex. 21 at 79:1-8);

                h. Whether he was a member of the Gangster Disciples (Ex. 21 at 100:2-10);

                i. Whether he ever used Samantha Crabtree’s Taurus handgun (Ex. 21 at 57:8-
                   10); and

                j. Whether he had a disagreement with Samantha Crabtree about his use of crack
                   cocaine in February of 1993 (Ex. 21 at 157:21-158:2).

(Ex. 21, Patrick Pursley deposition transcript).

         RESPONSE: Undisputed that Mr. Pursley gave this testimony, but Pursley objects

that all of these topics are irrelevant to the claims or defenses at issue in this case.




                                                   44
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 45 of 97 PageID #:7343




       59.    Pursley testified that he lacks knowledge of any evidence in support of the

following allegations in the Complaint:

              a. That the defendant police officers fabricated evidence against him (Ex. 21 at
                 43:7-48:9);

              b. That the defendant police officers planted or fabricated evidence recovered
                 during the search of Pursley’s residence on June 10, 1993, including the Taurus
                 handgun (Ex. 21 at 76:5-77:8);

              c. That the defendant police officers knew that Samantha Crabtree’s Statement
                 was in any way false (Ex. 21 at 6:22-118:20; 121:22-122:4);

              d. That defendant police officers Schmidt and/or Forrester fabricated or coerced
                 Samantha Crabtree’s Statement (Ex. 21 at 23:6-21; 116:22-121:14);

              e. That any of the defendant police officers conspired with the defendant forensic
                 scientists for purposes of fabricating and/or withholding evidence (Ex. 21 at
                 125:22-126:17; 130:21-131:2);

              f. That the defendant police officers knew that the Taurus handgun was not truly
                 the murder weapon, but entered it into evidence as the murder weapon anyway
                 (Ex. 21 at 127:20-128:7);

              g. That the defendant police officers withheld any evidence relevant to the Ascher
                 murder investigation (Ex. 21 at 136:3-8);

              h. That any of the defendant police officers conspired amongst themselves, or with
                 anyone else, in an effort to wrongfully convict Pursley, deprive Pursley of his
                 civil rights, intentionally inflict emotional distress upon Pursley, or commit any
                 other act of wrongdoing (Ex. 21 at 136:9-19);

              i. That any of the defendant police officers knew of any wrongdoing by any other
                 defendant in this case, but failed to intervene and prevent that wrongdoing (Ex.
                 21 at 136:20-137:6);

              j. That any of the defendant police officers knew Pursley was innocent of the
                 Ascher murder, but intentionally sought to wrongfully convict him anyway (Ex.
                 21 at 137:8-17);

              k. That any of the defendant police officers did not actually believe he was the one
                 who killed Andrew Ascher (Ex. 21 at 137:18-23); and

              l. That there was a lack of probable cause in support of his arrest (Ex. 21 at 80:20-
                 83:12).



                                               45
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 46 of 97 PageID #:7344




(Ex. 21, Patrick Pursley deposition transcript).

       RESPONSE: Disputed because these citations do not support this factual assertion

and because they inaccurately characterize the record and rely on legal conclusions from the

plaintiff, who is not a lawyer. Further, object that this SOF violates Local Rule 56.1(a)(3). A

Local Rule 56.1 statement of material fact must not contain legal conclusions and it must

contain only material statements. See, e.g., Malec v. Sanford, 191 F.R.D. 581, 583 (N.D. Ill.

2000). These questions called for legal conclusions, and Pursley's inability to recite facts that

support the legal elements of a due process violation is immaterial, as he is not a lawyer and

lacks the foundation to respond. Mr. Pursley’s personal knowledge on ultimate legal issues

is neither admissible nor material. Judson Atkinson Candies, Inc. v. Latini-Hohberger

Dhimantec, 529 F.3d 371, 382 n.2 (7th Cir. 2008); Rivera v. Guevara, 319 F. Supp. 3d 1004,

1018 (N.D. Ill. 2018), opinion clarified, No. 12-CV-04428, 2018 WL 11469072 (N.D. Ill. May

17, 2018). Many of the questions related to interrogations or actions that Pursley did not

observe and thus he lacks personal knowledge. This Court should disregard this SOF.

K.     Samantha Crabtree pled guilty to bank robbery; takes Fifth as to other matters

       60.     On October 27, 1994, Samantha Crabtree pled guilty to having robbed the First

Bank North bank with Patrick Pursley in 1993. (Ex. 22, Crabtree Dep. at 11:7-9; 62:12-63:6); (Ex.

23, Oct. 27, 1994 Samantha Crabtree guilty plea).        She was subsequently sentenced and

incarcerated from roughly 1995-1997. (Ex. 22 at 112:22-113:5).

       RESPONSE: Undisputed as to the substance of DSOF 60, but disputed as to the

heading before DSOF 60. On October 27, 1994, Crabtree entered guilty pleas for robbery

based on “a series of Crime Stopper tips and investigation” and for perjury based on giving

trial testimony that recanted her testimony implicating Pursley in the Ascher homicide at



                                                   46
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 47 of 97 PageID #:7345




the grand jury hearing. Ex. 107 (Oct. 27, 1994 Samantha Crabtree guilty plea) at 5:22-7:3.

Crabtree invoked her fifth amendment right at Pursley’s retrial and in this civil case. Ex.

108 (Crabtree 2019 Testimony). At Pursley’s second trial, Crabtree’s attorney explained that

she was asserting her Fifth Amendment rights because of her prior conviction for perjury.

Ex. 108 (Crabtree 2019 Testimony) at 147:9-149:4, 152:6-12. The State declined to extend

Ms. Crabtree immunity for her testimony. Ex. 108 (Crabtree 2019 Testimony) at 147:9-

149:4.

         61.   Samantha Crabtree was deposed in this case on September 23, 2020. (Sept. 23,

2020 Samantha Crabtree deposition transcript, Ex. 22). During her deposition, she invoked her

Fifth Amendment Right against self-incrimination and refused to answer questions regarding the

following topics:

               a. Her and Pursley’s role in the murder of Andrew Ascher, and their whereabouts
                  on April 2, 1993 (Ex. 22 at 83:19-84:2; 93:13-94:6; 102:9-12; 106:7-16);

               b. Her and Pursley’s role in robbing the First Bank North bank in 1993 (Ex. 22 at
                  62:12-63:10; 72:12-74:16);

               c. Pursley’s role in robbing the Burger King in 1993 (Ex. 22 at 101:19-102:7);

               d. Whether she is taking the Fifth because she is afraid that Pursley might harm
                  her or her children if she testified (Ex. 22 at 57:5-14), whether Pursley
                  physically abused her (Ex. 22 at 63:11-70:22), and whether Pursley threatened
                  her and her children (Ex. 22 at 104:2-7; 59:21-24);

               e. Whether she owned a Taurus handgun in 1993 (Ex. 22 at 72:2-9);

               f. Whether Pursley asked her to have a gun worked on to make it untraceable (Ex.
                  22 at 103:6-11);

               g. Whether she knows of Lester “Latee” Brown (Ex. 22 at 76:24-77:2);

               h. Whether she knows of Olen Bell (Ex. 22 at 81:1-14);

               i. Whether she knows of Marvin Windham (Ex. 22 at 74:18-20), and whether
                  Pursley ever asked her to help Pursley, Lester Brown, and/or Olen Bell retaliate



                                               47
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 48 of 97 PageID #:7346




                   against Windham for implicating Pursley in the Ascher murder (Ex. 22 at 105:4-
                   22); and

               j. Her interrogation by the police, what she told the police about Pursley’s role in
                  the Ascher homicide, and whether allegations of police coercion were false.
                  (Ex. 22 at 58:21-60:10; 96:11-101:17).


       RESPONSE: Undisputed that Crabtree took the fifth as to these topics in her

September 23, 2020 deposition after she had been convicted of perjury on October 27, 1994,

see Ex. 107 (Oct. 27, 1994 Samantha Crabtree Guilty Plea) at 6:8-7:3, subject to the

clarification that she also invoked the fifth when asked whether she lied during her grand

jury testimony. Ex. 109 (Crabtree Dep. 9/23/20) at 27:2-35:3. Denied to the extent this

indicates in sections (a) and (d) that Crabtree and Pursley had any role in the Ascher

homicide or that Pursley threatened her or her children. Crabtree testified in 1994 that

Pursley did not threaten her after he learned she had given a statement against him for the

Ascher homicide. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 481:18-482:2; see also PSOF 8-

40; P’s Resp. to DSOF 48.


L.     Defendant officers disclaim any involvement in alleged wrongdoing

       62.     Unlike Crabtree and Pursley, none of the defendant officers have invoked the Fifth

Amendment in this case. Rather, they have provided sworn Declarations attesting to the facts that:

(1) they did not engage in fabrication or withholding of evidence in the Ascher case; (2) they did

not conspire with any other officer, forensic scientist, or other individual for purposes of depriving

Pursley of his civil rights or depriving him of a fair trial; (3) they subjectively believed that there

was probable cause for Pursley’s arrest and prosecution, and have at all times relevant believed

that Pursley murdered Andrew Ascher; (4) they believe that the Statement Samantha Crabtree gave

to the police implicating Pursley in the murder was true; (5) they did not participate in or observe



                                                  48
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 49 of 97 PageID #:7347




any coercion of Samantha Crabtree, such as physical abuse, threats, intimidation, punishment,

deprivation of food, drinks, cigarettes, or sleep, needlessly prolonging her interrogation, or

deceiving her; (6) they were not aware of any of the alleged wrongdoing by any of the

codefendants; (7) they had no desire to intentionally inflict emotional distress upon Pursley, but

were motivated solely by a desire to uncover the truth and see that justice was done; and (8) they

are not aware of any false statements made in support of Pursley’s arrest or detention. (Ex. 24-33);

see also Ex. 34, Schmidt Dep. Trans. at 279:2-285:23. Exhibits 24-33 consist of Declarations from

all of the police officer defendants whether they are still in the case or not, other than those who

are deceased (namely Detectives Forrester, Reffett, Ekedahl, and Barton).

       RESPONSE: Plaintiff disputes the underlying facts related to each point. For point

1, Plaintiff has presented facts supporting a finding of fabrication. See PSOF 90-112, 128-

130 . For point 2, Plaintiff has presented facts supporting a finding of conspiracy. See PSOF

66-90, 116-122, 132. Point 3 is denied. See e.g., Ex. 69 (1993.04.03 Report) at RFD Defense

65-66 (City of Rockford police officer believed Vantele Turner may have committed Ascher

homicide). For points 4 and 5, Samantha Crabtree’s statements to police were not truthful

and there is evidence supporting a finding that Defendants knew her statements were being

coerced. See PSOF 8-40; Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 444:13-23. Crabtree was

intimidated by Defendants Schmidt and Forrester. Ex. 6 (Crabtree 1994 Test., Day 2) at

412:7-22; e.g., PSOF 18; see generally PSOF 8-40. For point 6, Plaintiff has presented

evidence that the RPD defendants knew that the match of the Taurus was false. PSOF 90-

112, 125-131. For point 7, Plaintiff incorporates all of his facts regarding other constitutional

and state-law torts. For point 8, Pursley’s arrest rested on false statements including those

of Marvin Windham and Samantha Crabtree. See PSOF 8-40; PSOF 41-55.




                                                49
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 50 of 97 PageID #:7348




        63.      There is no evidence that James Barton committed any of the wrongdoing plaintiff

has complained of in his complaint. (Ex. 21, Patrick Pursley deposition transcript at 43:7-48:9;

76:5-77:8; 116:22-118:20; 121:22-122:4; 125:22-126:17; 130:21-131:2; 127:20-128:7; 136:3-8;

136:9-19; 136:20-137:6; 137:8-17; 137:18-23; & 80:20-83:12).

        RESPONSE: Disputed but immaterial. James Barton is not a defendant. See ECF

Nos. 279, 280.

        64.      Defendant Mark Schmidt participated in the interrogation of Samantha Crabtree

and assisted in taking her written Statements on June 10-11, 1993. (Ex. 34, Schmidt Dep. Trans.

at 134:7-255:10). Schmidt testified that Detective Forrester’s report (Ex. 13 hereto) covered the

investigative activities undertaken by Schmidt and Forrester on June 10, 1993 from the point of

picking up Crabtree onward. Id. at 157:13-158:6. He testified that Forrester’s report fairly and

accurately summarizes the detectives’ interactions with Crabtree during her June 10-11, 1993

interrogation. Id. at 279:2-8. Schmidt testified that Crabtree volunteered to leave her kids with

family to go with the police that day, consented to the search of her car and residence, and

voluntarily agreed to answer their questions down at the Public Safety Building (“PSB”). Id. at

134:7-140:10. Her demeanor was described by Schmidt as “fine” during the ride to the PSB with

the police. Id. at 139:5-9.

        RESPONSE: The first sentence is denied because Schmidt typed the statements that

were attributed to Crabtree and “the details that were typed in there were not all given from

[Crabtree].” Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 445:3-446:10. She also testified that

her statement was “basically” the Defendants’ typed statement of what they said happened.

Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 434:6-15. The fourth sentence is denied; Crabtree

did not volunteer to go to the station. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 438:19-




                                                50
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 51 of 97 PageID #:7349




439:13. Ms. Crabtree testified at trial that as soon as the police approached her on the steps

on June 10, 1993, she was afraid that something could happen to her children. Ex. 6

(Crabtree 1994 Trial Test., Day 2) at 438:19-439:13. She told the police that she did not have

anyone to watch her children but the police asked the people around her if they could watch

her children. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 438:19-439:13. The fifth sentence is

denied; Crabtree was upset and crying during “the whole time” she was detained by police.

Ex. 6 (Crabtree 1994 Test., Day 2), at 442:1-6, 463:1-5.

       65.     Samantha Crabtree arrived at the PSB at 3:15 PM on June 10, 1993. Id. at 151:20-

24-152:10. Once placed in an interview room at the PSB, her demeanor continued to be “fine.” Id.

at 152:23-153:2. She was allowed to use the restroom anytime she wanted to while at the PSB. Id.

at 153:3-7. Schmidt was in the interview room with Crabtree and Detective Forrester the entire

time from 3:15 PM until 5:00 PM, taking down general information from Crabtree. Id. at 155:7-

24; 179:2-13. During that time, Crabtree was repeatedly offered food, which she refused, along

with cigarettes, two cans of pop and some water, which she consumed. Id. at 160:14-22; 192:24-

193:16. She did not say anything about her children during this time. Id. at 160:23-161:4.

       RESPONSE: Object that this statement of fact violates Local Rule 56.1 in that it

contains six separate facts, some of which are hotly disputed. See Malec v. Sanford, 191

F.R.D. 581, 583 (N.D. Ill. 2000) (“It is inappropriate to confuse the issues by alleging multiple

facts in a single paragraph in hopes of one’s opponent missing one.”). As for the substance,

Sentence one is undisputed for sentence one. For sentence two: undisputed that Crabtree

was placed in the interview room, but denied that she was “fine.” Crabtree was upset and

crying during “the whole time” she was detained by police. Ex. 6 (Crabtree 1994 Trial Test.,

Day 2) at 442:1-6, 463:1-5. When she arrived at the PSB interrogation room she was “a




                                               51
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 52 of 97 PageID #:7350




mess,” “scared,” and “upset.” Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 413:8-11. Sentences

three and four are undisputed, but irrelevant, because Crabtree still felt threatened and

intimidated. See, e.g., PSOF 16-19, 22-23; see generally PSOF 8-40. Sentence five is denied as

Crabtree was throwing up while she was detained. Ex. 6 (Crabtree 1994 Trial Test., Day 2)

at 413:24-414:3; 446:24-447:3; PSOF 19. Because of her pregnancy, she was unable to eat.

Ex. 25 (Crabtree Affidavit) at Pursley 014250; PSOF 19. Sentence six is denied. From the

beginning of when he questioned her, Detective Forrester would, “say you know you are in

trouble don’t you and I would say yes I know. And he would say you know you have 3 young

children. I said yes I do and I would start crying. And he would say do you want to see your

children again. And I said yes I do. And he said well we can make it very easy or we can

make this very hard. He said I can make it so you don’t see your children until they are 40

but he said if you cooperate with me and you help me then we can help you.” Ex. 6 (Crabtree

1994 Trial Test., Day 2) at 415:1-16. Schmidt and Forrester threatened to take her children

away, from the very beginning of her interrogation. Ex. 6 (Crabtree 1994 Trial Test., Day 2)

at 438:4-18. See also Ex. 25 (Crabtree Affidavit) at Pursley 014249-014250; see generally

PSOF 16, 17; Resp. to DSOF 48.

       66.     From 5:00 to 5:20, Detectives Schmidt and Forrester stepped out of the room that

Samantha Crabtree was in to discuss the information she had provided to that point, which they

felt was less than complete and failed to reveal her role in the suspected crimes. Id. 179:2-185:5.

Detectives Schmidt and Forrester returned to the room and Mirandized Crabtree, had her sign a

waiver of rights form, and confirmed with her that she understood her rights. Id. Crabtree signed

the waiver of rights form at 5:23 PM. (Ex. 13 at 000115); (Ex. 35, signed Advice of Rights forms).




                                                52
  Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 53 of 97 PageID #:7351




        RESPONSE: Undisputed that this was Detective Schmidt’s 2020 testimony. Denied

as to the underlying facts as Crabtree was crying the entire time. Ex. 6 (Crabtree 1994 Trial

Test., Day 2) at 441:20-442:6.

        67.    Detectives Schmidt and Forrester subsequently told Samantha Crabtree that they

did not believe she was telling the entire truth and asked her to be completely honest with them.

(Ex. 34, Schmidt Dep. Trans. at 187:24-188:11). Her demeanor continued to be “fine” at this

point. Id.

        RESPONSE: Undisputed that Defendants Schmidt and Forrester told Crabtree that

they did not believe she was telling the truth, but disputed that her demeanor was “fine.” She

was not fine. Crabtree was physically and emotionally distraught, and was suffering

emotionally. Ex. 25 (Crabtree Affidavit) at Pursley 014250; Ex. 6 (Crabtree 1994 Trial Test.,

Day 2)) at 442:1-6, 463:1-5. Schmidt and Forrester threatened to send her to prison and

separate her from her children. Ex. 25 (Crabtree Affidavit) at Pursley 014249. She felt

pressure to tell them the information they wanted, and was unable to resist Schmidt and

Forrester’s unfair tactics. Ex. 25 (Crabtree Affidavit) at Pursley 014251.

        68.    Detective Schmidt was asked “was there ever any moment when she [Crabtree]

started to cry?” and he answered:

               There were times when she cried. Those were times when she would
               tell us about Patrick Pursley threatening to kill her and her two kids.
               Then she would cry. She was afraid of him and afraid of what he's
               going to do. She kept saying that "If I -- you know, Patrick told me
               if I tell on him, like I am now, he's going to kill me or have
               somebody kill me and my two kids." She says he'd never kill her
               baby, Marcus, who was mixed; but her and the other two kids [who
               were white], he'd have no problem killing.

Id. at 188:12-24.




                                                 53
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 54 of 97 PageID #:7352




       RESPONSE: Undisputed that this was Defendant Schmidt’s testimony at his

deposition on January 23, 2020. Denied as to the substance of this testimony. Crabtree was

visibly upset during the entire time she was held by police even when she was not discussing

Patrick including when she was at the identification unit. See Ex. 6 (Crabtree 1994 Trial

Test., Day 2) at 444:8-24, 463:1-5. Crabtree cried almost the entire time she was detained by

police for questioning in the Ascher homicide investigation. Ex. 25 (Crabtree Affidavit) at

Pursley 014250.

       69.     Detective Schmidt was asked whether Samantha Crabtree expressed any concern

for her children after she was Mirandized and the police began an accusatory phase of the

interrogation. Id. at 193:22-194:10. He testified that:

               A: There was times where -- when she's given the account of what
               was happening, she would say, "They're going to take my kids
               away."

               Q: She would say that?

               A: She said that.

               Q: And what was Detective Forrester's response to that?

               A: Said it wasn't up to us, you know; totally be up to whatever the
               state's attorney decided, you know, when they reviewed this.

Id. at 194:1-10. Schmidt was present for the whole time of the accusatory phase of the

interrogation, other than perhaps stepping out to get her a pop or cigarettes. Id. at 194:11-21.

       RESPONSE: Undisputed that this was Schmidt’s testimony at his deposition.

Undisputed that Samantha was concerned about her children. Denied that Forrester

responded that it was not up to him whether Crabtree’s children were taken from her;

Forrester told her that he could make it so she didn’t see her children until they were 40, but

if she cooperated with him, then he could help. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at



                                                 54
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 55 of 97 PageID #:7353




415:1-16. Schmidt and Forrester threatened to take her children away, from the very

beginning of her interrogation. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 438:4-18. Denied

as to the truth of the last sentence as Crabtree testified, “Detective Schmidt was present at

times in the room but he would get up and walk out every once in a while.” Ex. 6 (Crabtree

1994 Trial Test., Day 2) at 415:18-24. When her statements were being taken, only one

Defendant was with her at a time. Ex. 25 (Crabtree Affidavit) at Pursley 014251.

       70.    The detectives never threatened to take Samantha Crabtree’s children away, as

established by Detective Schmidt’s testimony as follows:

              Q: Did Detective Forrester ever say, during this time to Ms.
              Crabtree, "You know you're in trouble, don't you?" Would he --
              could he have said that to her?

              A: I don't recall that. . . .

              Q: You don't recall it?

              A: I don't recall it.

              Q: And do you recall him saying, "You have
              three young children. Do you want to see them
              again?" Do you recall him –

              A: No.

              Q: -- saying that to her?

              A: He never said nothing like that, no, absolutely not. . . . it never
              happened. . . .

              Q: Did he ever say to Ms. Crabtree, "I can make it so you can't see
              your children again until they're 40"?

              A: No. . . .

              Q: Do you recall Detective Forrester saying anything about if
              Samantha went to prison for 40 years, that her children wouldn't
              even know her when she got out?




                                                55
Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 56 of 97 PageID #:7354




           A: No. Samantha was very cooperative. Basically she was very
           cooperative. I mean, all these things didn't even take an hour to get
           an account of the bank robbery, the murder, stealing the car, the
           Burger King. I mean, we didn't – we were only talking to her for
           pretty close to an hour, I think. . . .

           Q: Did Detective Forrester ever use the words, "I want you to help
           me nail Patrick"?

           Did he ever use the --

           A: No.

           Q: -- words "nail Patrick"?

           A: No. . . .

           Q: Did Detective Forrester ever say that -- to Sam Crabtree that she
           wasn't the type of person to get into trouble, and that what she'd
           gotten into wasn't her fault? So -- that he could help her; did he ever
           say that?

           A: No. . . .

           Q: -- . . . she had been crying during the interview, correct?
           A: At times when she would give us an account of what had
           happened, and, again, it was when she would talk about Patrick is
           going to kill her for telling. She was really concerned about her and
           her kids, what Patrick is going to do because she told on him. It
           wasn't like she burst out bawling hysterically or nothing. She was
           just crying, you know. "And, well, you know, Patrick is going to kill
           me, you know, for -- he told me that he would kill me for doing this."
           ....
           Q: When Sam expressed concerns about her kids being taken away,
           did you or Detective Forrester tell her that you could tell the state's
           attorney that she cooperated?
           A: No.
           Q: You didn't tell her that?
           A: No.
           Q: You didn't tell her it would weigh in her favor if she cooperated?
           A: Did we tell her that?


                                             56
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 57 of 97 PageID #:7355




               Q: Yes.
               A: No.
               Q: Did you tell her that you would put in a good word for her?
               A: No.
               Q: Did either you or Detective Forrester at any time tell Ms. Crabtree
               that she could be charged with bank robbery for her participation?.
               ..
               A: No, we were just getting the facts and putting them down and
               getting her on a statement.
Id. at 199:7-24; 200:10-17; 201:8-18; 202:11-14; 205:14-19; 206:19-207:6; 220:4-221:8.

       RESPONSE: Undisputed that this was Schmidt’s testimony at his deposition. Denied

because Crabtree testified that Forrester repeatedly threatened that he could make it so that

she would not see her children. Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 415:1-16, 438:4-

18; see also PSOF 8-40.

       71.     Detective Schmidt testified that Samantha Crabtree was not crying at any time

when he took her statement from her about the Ascher murder. Id. at 245:3-15. According to that

Statement, it was taken between 8:25 PM and 11:25 PM. (Ex. 14). At no point during her

interrogation did Crabtree ask the detectives if she could check on her kids, or whether the police

could check on her kids. (Ex. 34, Schmidt Dep. Trans. at 248:5-23). Detective Schmidt testified

that he did not recall raising his voice with Crabtree, and did not recall Detective Forrester doing

so during her interrogation. Id. at 255:7-10.

       RESPONSE: Undisputed that Schmidt testified in his January 23, 2020 deposition

that Crabtree was not crying when he took her statement but denied because she was crying.

Ex. 6 (Crabtree 1994 Trial Test., Day 2), at 442:1-6, 463:1-5. Crabtree testified that she asked

Forrester if she or the Defendants could check in on her children and he said, “I haven’t seen




                                                57
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 58 of 97 PageID #:7356




my children in 3 days and you want me to feel sorry for you.” Ex. 6 (Crabtree 1994 Trial

Test., Day 2) at 474:13-475:3.

       72.     Detective Schmidt testified that neither he nor Detective Forrester pressured

Samantha Crabtree into giving her Statements, coerced her, promised her anything, threatened her,

slammed their fists on the table, or suggested that her kids would be taken away if she refused to

cooperate. Id. at 280:9-281:16. He described her as cooperative throughout her time with the

detectives, and testified that she never asked for a lawyer or indicated she no longer wanted to talk

to the detectives. Id. at 281:17-282:4.

       RESPONSE: Undisputed that Defendant Schmidt testified this way in his January

23, 2020 deposition. Denied as to the truth of these statements; Samantha felt intimidated

and testified that Schmidt and Forrester threatened that her children would be taken away.

Ex. 6 (Crabtree 1994 Trial Test., Day 2) at 412:7-22, 415:1-16, 438:4-18. Also denied because

Samantha testified that the Defendants would yell at her during their questioning when she

did not say what they wanted and stopped yelling when she did. Ex. 6 (Crabtree 1994 Trial

Test., Day 2) at 473:22-474:9. Detective Schmidt testified that under the Rockford Police

Department policies in 1993, officers were allowed to slam their fists on the table while

conducting interrogations. Ex. 19 (Schmidt Dep.) at 66:24-67:9.

M.     Firearms and Tool Mark Examinations

       73.     A firearm and tool mark examiner is a professional whose job is to evaluate

physical evidence, which is often collected in connection with the scene of a crime, including

comparing test fired evidence from a particular firearm with ballistics evidence collected

elsewhere. (Ex. 41, Murdock, 2016 Post Conviction Testimony, Pursley 006991:22-Pursley

006992:6).




                                                 58
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 59 of 97 PageID #:7357




       RESPONSE: Undisputed. 2

       74.      Examining ballistics evidence to determine if there is an identification between

crime scene and test fired evidence involves a subjective element based on the examiner’s training

and experience. (Ex. 42, Welty 1994 Trial Testimony, 286:20-23; Ex. 43, Boese 1994 Trial

Testimony, 830:7-13; Ex. 44, Striupaitis Dep., 131:10-13; Ex. 45, Murdock Dep. at 187:17-19,

192:17-21; Ex. 46, Coleman Dep., 99:12-16).

       RESPONSE: Undisputed but clarify that the standard methodology that must be

followed to conduct this examination was well-established in 1993 and is not subjective. Ex.

Ex. 50 (Murdock Civil Report) at 7. PSOF 93, 96, 97, 98.

       75.      Examining ballistics evidence is not an exact empirical science. (Ex. 42, Welty

1994 Trial Testimony, 289:3-10). There are degrees of expertise in examining firearms evidence.

(Ex. 43, Boese 1994 Trial Testimony, 838:22-839:2).

       RESPONSE: Undisputed that examining ballistics evidence is not an exact empirical

science, but disputed to the extent that this sentence suggests that there are no objective

elements to ballistics analysis. Ex. 55 (Murdock Sept. 2021 Dep.) at 187:20-191:1. In fact,

RPD and ISP Defendants used a ballistics identification (among other evidence) to deprive

Pursley of his liberty for 23 years.

       76.      There are three findings a firearm and tool mark examiner might make when

comparing test fired evidence to crime scene evidence: (1) an identification or a match; (2) an

elimination; or (3) an inconclusive finding, which means that there is insufficient information on

the evidence that prevents a finding of an identification. (Ex. 43, Boese 1994 Trial Testimony,



       2
        The parties use several different terms to refer to the ballistics evidence. For purposes of clarity, the
       evidence that was test fired from Pursley’s Taurus is referred to as “tests” and “test fires.” The ballistics
       evidence collected from the crime scene is called “suspect,” “questioned,” and “evidence.”


                                                       59
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 60 of 97 PageID #:7358




834:9-835:1; Ex. 47, Noedel Dep., 63:24-64:5). Evidence may also be unsuitable for identification.

(Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD Defense 3198:12-23).

       RESPONSE: Undisputed.

       77.     An “inconclusive” finding is not an “exclusion” or elimination; inconclusive is a

term used when an examiner can neither identify nor eliminate evidence as being fired from a

particular firearm, but it does not prohibit either an identification or an elimination being made.

(Ex. 41, Murdock 2016 Post Conviction Testimony, Pursley 007154:10-12; Ex. 48, Gunnell 2016

Post Conviction Testimony, RFD Defense 3199:1-21; RFD Defense 3253:13-16).

       RESPONSE: Object that “prohibit” is undefined and ambiguous, and therefore deny.

Deny further that this statement of fact is not supported by the citation. Clarify that

inconclusive is neither an exclusion nor an identification.

       78.     Under Illinois State Police policies, a firearm can be eliminated as the source of

crime scene ballistics evidence under two scenarios: (1) elimination based on class characteristics

and (2) an “overwhelming difference in individualized detail.” (Ex. 49, Patty 2016            Post

Conviction Testimony, 77:13-18).

       RESPONSE: Undisputed.

       79.     An example of an elimination based on class characteristics is if the firearm has a

caliber of 9 millimeters and a bullet with a different caliber or differing number or direction of

lands and grooves. (Ex. 49, Patty 2016 Post Conviction Testimony, 77:19-24).

       RESPONSE: Undisputed.

       80.     An elimination based on individual characteristics is proper under Illinois State

Police policies when there is an “overwhelming difference between individualized detail between

the two items.” (Ex. 49, Patty 2016 Post Conviction Testimony, 78:6-12).




                                                60
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 61 of 97 PageID #:7359




       RESPONSE: Undisputed, subject to the clarification that “overwhelming difference”

is a subjective determination based on the examiner’s training and experience. Ex. 51 (Patty

Dep.) 130:21-131:2.

       81.     All identifications and eliminations, if they are other than class characteristic

eliminations, must be verified by another forensic examiner. (Ex. 48, Gunnell 2016 Post

Conviction Testimony, RFD Defense 3195:9-18).

       RESPONSE: Undisputed, subject to the clarifications that (1) this citation establishes

only that this ISP’s practice, not necessarily a standard practice; and (2) the preferable form

of verification is a blind verification. Ex. 51 (Patty Dep.) at 100:2-9.

       82.     Some aspects of firearms examination have changed since 1993; for instance,

examiners in 1993 did not have the benefit of a comparison microscope that would magnify up to

120 power or the benefit of high resolution digital photography. (Ex. 48, Gunnell 2016 Post

Conviction Testimony, RFD Defense 3307:5-11; RFD Defense 3308:1-4). In addition, standards

in testimony changed sometime between 1994 and 2016. (Ex. 48, Gunnell 2016 Post Conviction

Testimony, RFD Defense 3308:9-12).

       RESPONSE: Undisputed as to the fact that newer microscopes have higher

magnifications, but immaterial. The fact that comparison microscopes could not magnify up

to 120x in 1993 does not matter here, because John Murdock testified that even under a 15x-

20x magnification, which was available in 1993, it was apparent that Pursley’s Taurus did

not fire the crime scene evidence,. Ex. 55 (Murdock Sept. 2021 Dep.) at 218:12-219:6, 223:18-

225:18; Ex. 50 (Murdock Civil Report). Object that “standards in testimony” is undefined

and ambiguous and therefore deny.




                                               61
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 62 of 97 PageID #:7360




N.     Jack Welty’s Preliminary Findings Regarding the Ballistics Evidence

       83.     At all relevant times, Jack Welty was employed with the Illinois State Police as an

Assistant Laboratory Director at the Forensic Science Laboratory in Rockford, Illinois, where

Welty’s job duties included, among other things, performing examinations pertaining to firearm

and tool mark evidence. (Ex. 42, Welty 1994 Trial Testimony, 242:11-23).

       RESPONSE: Undisputed.

       84.     At the time of Plaintiff’s trial in 1994, Welty had been employed as a forensic

scientist with the Illinois State Police for 19.5 years, of which he had spent eight years devoted

exclusively to firearm and tool mark identification. (Ex. 42, Welty 1994 Trial Testimony, 245:17-

24).

       RESPONSE: Undisputed.

       85.     As part of Welty’s job responsibilities, he would occasionally be called upon to

perform an “investigative look” at or preliminary review of ballistics evidence (e.g. cartridge

casings and bullets) that local law enforcement outside of the Illinois State Police might bring to

the ISP Lab in Rockford. (Ex. 42, Welty’s 1994 Trial Testimony, 252:5-14; Ex. 50, Welty Dep.,

56:19-60:3).

       RESPONSE: Disputed. First, Welty testified at his deposition that he could not recall

a single other instance other than this case in which a detective contacted him and asked him

to provide an opinion about what kind of gun fired the crime scene ballistics evidence. Ex.

41 (Welty Dep.) at 143:20-144:12. Second, the citations do not support this statement. While

Welty testified that he would sometimes be asked to conduct an investigative look, he did not

testify that he had ever performed an “investigative look” like the one he performed in this

case. Furthermore, the detectives involved in this investigation did not believe they had ever




                                                62
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 63 of 97 PageID #:7361




called upon an ISP analyst to perform a preliminary review like the one that was done in this

investigation. Ex. 110 (Hanson Response to Plaintiff’s Interrogatories 2) at 1; Ex. 111

(Schmidt Response to Plaintiff’s Interrogatories 2), at 1; Ex. 86 (J. Bowman Answers to

Plaintiff’s Second Set of Interrogatories) at 1; Ex. 87 (J. Houde Answers to Plaintiff’s Second

Set of Interrogatories) at 1; Ex. 44 (Hanson Dep.) at 74:4-14 (Detective Hanson testifying this

was “something that I certainly never did”), 72:5-21 (ISP analyst’s results would always be

submitted in a written report, not through a phone call); Ex. 12 (Genens Dep.) 105:17-06:11

(“Any time the state crime lab did something they put it in the form of a letter. It was in

writing eventually.”).

       86.     When a firearm and tool mark examiner reviews ballistics evidence to determine a

list of possible firearms that could have fired a bullet or a cartridge case, a formal report is not

necessary because the examiner is only offering a “preliminary finding.” (Ex. 50, Welty Dep.,

75:8-76:15).

       RESPONSE: Disputed. Welty testified that it would be best practice to provide the

results of a “preliminary finding” like the one performed in this case in writing. Ex. 41 (Welty

Dep.) at 77:7-78:13. Further, Welty testified at his deposition that he could not recall a single

other instance other than this case in which a detective contacted him and asked him to

provide an opinion about what kind of gun fired the crime scene ballistics evidence, so he

would not be able to speak to whether a formal report would have been necessary. Ex. 41

(Welty Dep.) at 143:20-144:12.

       87.     On June 9, 1993 at around 2:00 p.m., Charlene Getty with the Rockford Police

Department submitted four pieces of ballistics evidence (two cartridge casings and two bullets) to

Welty at the ISP Lab in Rockford. (Ex. 50, Welty Dep., 136:9-17; Ex. 42, Welty 1994 Trial




                                                63
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 64 of 97 PageID #:7362




Testimony, 253:17-22). After receiving the cartridge casings and bullets from Getty, Welty placed

them in the firearms evidence vault. (Ex. 50, Welty Dep., 136:18-19).

       RESPONSE: Undisputed.

       88.     Later in the afternoon on June 9, 1993, Welty received a call from an investigator

with the Rockford Police Department asking if Welty could look at the two cartridge casings and

two bullets dropped off by Getty and provide the Rockford Police Investigator with possible

firearms that could have fired the bullets and casings. (Ex. 50, Welty Dep., 136:19-137:10; Ex. 42,

Welty’s 1994 Trial Testimony, 254:23-255:2).

RESPONSE: Disputed that this states the full conversation. Welty testified that it was his

practice to memorialize the substance of the call on a conversation sheet, but that document

does not exist anymore. Ex. 41(Welty Dep.) at 150:15-18; PSOF 106, 108, 116-121. Stating

further, Welty spoke with Defendant Forrester, Ex. 41 (Welty Dep.) at 240:3-20; Ex. 19

(Forrester Report) at RFD Defense 111.

       89.     Welty agreed to review the bullets and casings, and to offer possible firearms from

which the evidence may have come from. (Ex. 50, Welty Dep., 137:11-14; Ex. 42, Welty 1994

Trial Testimony, 255:2-5). Welty conducted a preliminary review of the evidence and determined

that the bullets and cartridge casings had a caliber of 9-millimeter, with the bullets containing six

lands and grooves with a right twist. (Ex. 42, Welty 1994 Trial Testimony, 255:20-21, 256:12-14,

256:19-24; 258:14-259:9).

RESPONSE: Undisputed.

       90.     Welty then compared the bullets and cartridge casings under a comparison

microscope and found sufficient matching striations between them to make a preliminary finding




                                                 64
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 65 of 97 PageID #:7363




that both of the bullets provided to him by the Rockford Police Investigator were fired from the

same gun. (Ex. 42, Welty 1994 Trial Testimony, 261:22-262:8).

RESPONSE: Disputed that Welty concluded that the cartridge cases were fired from the

same weapon. The cited testimony refers only to the bullets. Defs.’ Ex. 42, Welty 1994 Trial

Testimony, 261:22-262:8.

       91.     After making his preliminary findings under the microscope, Welty consulted a

general rifling characteristics notebook, which included thousands of entries with regard to

characteristics of firearms. (Ex. 42, Welty 1994 Trial Testimony, 262:17-24, 289:17-22). This

notebook is prepared by the FBI. (Ex. 42, Welty 1994 Trial Test., 263:1-4).

RESPONSE: Undisputed.

       92.     Based on a comparison between his preliminary findings and the information on

rifling characteristics in the FBI’s notebook, Welty concluded that the ballistics evidence provided

to him by the Rockford Police Investigator could have been fired from one of three brands of

firearms: (1) Taurus; (2) Beretta; or (3) Astra. (Ex. 50, Welty Dep., 138:19-22; Ex. 42, Welty 1994

Trial Testimony, 263:7-12).

RESPONSE: Disputed. The FBI notebook identified more than three brands of firearm that

could have fired the crime scene bullets. Defs.’ Ex. 42 (Welty 1994 Trial Tr.) at 263:13-23.

       93.     Welty recognized that there may be other brands of firearms that fit within the

characteristics that he found on the bullets and cartridge casings, but some of those firearms were

rare and unusual, and therefore, from an investigative standpoint, Welty believed that it would be

more helpful to identify what he would consider the more common and more logical brands that

would have fired the bullets and cartridge casings. (Ex. 42, Welty’s 1994 Trial Testimony, 263:13-

23).




                                                65
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 66 of 97 PageID #:7364




       RESPONSE: Disputed that “Welty believed that it would be more helpful to identify

what he would consider the more common and more logical brands that would have fired

the bullets and cartridge casings.” PSOF 77, 79-80. Otherwise, undisputed.

       94.     After narrowing the possible firearms to a Taurus, Beretta, or an Astra, Welty noted

that his review under the comparison microscope revealed that the firing pin impressions included

a crater formation (which Welty described as a “mounding”) right outside the firing pin impression

itself. (Ex. 42, Welty’s 1994 Trial Testimony, 264:11-265:1, 268:6-7, 292:24-295:6, 296:6-8).

RESPONSE: Undisputed but clarify that the cited testimony explains that this was on the

breech face, not the firing pin impression.

       95.     Welty recalled that, based on his years of experience with examining cartridge cases

and working on two specific cases, he thought that the brand that fired the bullets and cartridge

casings was likely a Taurus due to the visibility of the “mounding.” (Ex. 42, Welty’s Trial

Testimony, 265:1-13; Ex. 50, Welty Dep., 191:8-193:20). The firing pin impressions and breach

face of cartridge casings are the most important areas that allow examiners to make an

identification. (Ex. 42, Welty’s Trial Testimony, 266:17-21, 267:12-14).

       RESPONSE: Undisputed.

       96.     Nobody told Welty that they wanted any particular results with respect to the

preliminary examination that Welty conducted on June 9, 1993. (Ex. 50, Welty Dep., 241:17-21).

       RESPONSE: Disputed. PSOF 75, 77-80.

       97.     After Welty concluded his preliminary examination, he relayed his conclusion to

Detective Howard Forrester after receiving permission from his supervisor to do so. (Ex. 50, Welty

Dep., 144:17-20, 147:17-148:4).




                                                66
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 67 of 97 PageID #:7365




       RESPONSE: Undisputed. Stating further, Welty relayed his conclusion to Forrester

after having the evidence for less than three hours. PSOF 75.

       98.     Aside from relaying his conclusions to Detective Howard Forrester on June 9, 1993,

Welty did not speak with anyone else at the Rockford Police Department about Plaintiff’s case.

(Ex. 50, Welty Dep., 244:8-244:16). Pursley’s claims against Welty are limited to Welty’s

involvement with this preliminary examination of the ballistics evidence. (Ex. 51, Pursley Resp.

to Interrogatories of Jack Welty).

       RESPONSE: Denied. PSOF 116-118. Furthermore, deny that Plaintiff’s claims

against Welty are limited to the preliminary examination. Plaintiff’s interrogatory response

alleged that he acted “for the purpose of helping members of the Rockford Police

Department frame Plaintiff.” Ex. 113 (Pl. Resp. to Welty INT) at 2. Plaintiff has pled

conspiracy against Welty. Ex. 114 (Second Amd. Compl.) at Counts I-VII. Further denying,

Plaintiff has alleged that Welty conspired with RPD Detectives and with ISP Defendant

Daniel Gunnell to fabricate a ballistics “match” that would link the crime-scene evidence to

RPD’s prime suspect, Patrick Pursley. Ex. 114 at ¶¶52-55 (alleging that the Defendant

Forensic Scientists compared the test-fired bullets and cartridge casings from to the crime-

scene evidence and, though the comparison revealed the absence of a match, they fabricated

evidence “conclusively” linking the gun and “working in concert with the Defendant Officers

who had investigated the case, the Defendants fabricated this key “link” between Plaintiff

and the crime, and withheld evidence of this fabrication from the prosecution and defense.”).

       99.     Starting on June 10, 1993, Welty was on vacation visiting Disney World with his

family for two weeks. (Ex. 50, Welty Dep., 145:12-16, 146:2-9).

       RESPONSE: Undisputed.




                                               67
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 68 of 97 PageID #:7366




       100.    Welty did not speak with Dan Gunnell about the Patrick Pursley case. (Ex. 50,

Welty Dep., 149:13-21).

       RESPONSE: Disputed. See PSOF 116.

       101.    On June 11, 1993, the firearms evidence was transferred by Greg Hanson of the

Rockford Police Department to the Illinois State Police Forensic Science Lab in Broadview,

Illinois. (Ex. 44, Striupaitis Dep. Vol. II, 162:7-164:3).

       RESPONSE: Undisputed.

O.     Dan Gunnell’s Physical Examination of the Ballistics Evidence

       102.    Dan Gunnell was a forensic scientist specializing in firearms and tool mark

identification, who in 1993 was employed by Illinois State Police and was assigned to the suburban

Chicago Forensic Science Lab in Broadview, Illinois. (Ex. 52, Gunnell 1994 Trial Testimony,

629:22-630:7). Gunnell was formerly on the Board of Directors and the President of the

Association of Firearms and Tool marks Examiners, the professional organization for firearms

examiners. (Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD Defense 3183:14-RFD

Defense 3184:3).

       RESPONSE: Undisputed but clarify that Gunnell did not serve on the Board of

Directors or as President until decades after his work on this case. Ex. 58 (Gunnell 2016

Test.) at Pursley 007310-007311.

       103.    In June 1993, Gunnell received several items of evidence that were described to

him as relating to the Patrick Pursley case, including a Taurus 9 millimeter gun, two shell casings,

two cartridge cases, and multiple spent bullets. (Ex. 52, Gunnell 1994 Trial Testimony, 639:15-

640:10; 645:14-646:11; 646:23-647:5; 647:13-24; 650:9-651:20).

       RESPONSE: Undisputed.




                                                  68
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 69 of 97 PageID #:7367




       104.    After receiving this evidence, Gunnell began his investigation by looking at the

fired evidence; this would include looking at the number of lands and grooves as well as the

number of twists on the bullets. (Ex. 52, Gunnell 1994 Trial Testimony, 652:11-23). Before the

microscopic testing, Gunnell also examined the gun, determined that the gun was operating

properly, and checked the safeties. (Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD

Defense 3203:10-17).

       RESPONSE: Undisputed.

       105.    Gunnell would then put the fired bullets on a comparison microscope, which is

essentially two individual microscopes joined by an optic bridge which allows an examiner to look

at the left-hand stage and right-hand stage simultaneously, after which Gunnell would then

compare both pieces of fired evidence to see if they had the same class characteristics, and would

then examine the discharged cartridge cases to see if they had the same class characteristics. (Ex.

52, Gunnell 1994 Trial Testimony, 652:24-653:6).

       RESPONSE: Undisputed.

       106.    If the fired evidence had the same class characteristics as that of the submitted

firearm, Gunnell would perform test firings with the firearm; the fired evidence in the Patrick

Pursley case had the same class characteristics as the recovered Taurus 9mm firearm. (Ex. 52,

Gunnell 1994 Trial Testimony, 653:11-15).

       RESPONSE: Undisputed.

       107.    Once Gunnell had determined that there were class characteristics in common

between the firearm and the fired evidence, he then fired two tests and examined those casings and

bullets test-to-test in order to see what reproduces both by class characteristic and individual

characteristic from test-to-test. (Ex. 52, Gunnell 1994 Trial Testimony, 655:10-16).




                                                69
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 70 of 97 PageID #:7368




       RESPONSE: Undisputed.

       108.   Gunnell performed a microscopic examination of the evidence both test-to-test and

then test-to-evidence in this case. (Ex. 52, Gunnell 1994 Trial Testimony, 656:17-20). Gunnell

was primarily looking first for breach [sic] face markings, then firing pin impressions, and, if

necessary, ejector and extractor markings or chamber markings. (Ex. 52, Gunnell 1994 Trial

Testimony, 657:3-6).

       RESPONSE: Undisputed.

       109.   Gunnell issued a report containing his conclusions on October 7, 1993. (Ex. 53,

Gunnell October 7, 1993 Firearms Examination Report). Gunnell determined that the two cartridge

cases submitted in June 1993 were fired from the Taurus 9 millimeter gun submitted with the

evidence. (Ex. 53, Gunnell October 7, 1993 Firearms Examination Report).

       RESPONSE: Undisputed.

       110.   Gunnell testified in court that he found that “both of these two evidentiary

discharged cartridge cases were, in fact, fired from those firearm to the exclusion of all other

firearms.” (Ex. 52, Gunnell 1994 Trial Testimony, 657:7-15). The phrase “to the exclusion of all

other firearms” was the accepted verbiage to express an identification in 1993. (Ex. 48, Gunnell

2016 Post Conviction Testimony, RFD Defense 3227:18-RFD Defense 3228:9; Ex. 44, Striupaitis

Dep. Vol. II, 264:15-265:6).

       RESPONSE: Undisputed. Clarify that “to the exclusion of all other firearms” is no

longer accepted terminology and is not used, because it overstates the level of confidence in

a match; to properly reach that conclusion, all other firearms in the world would have to be

examined. Ex. 48 (DeMuth Dep.) at 148:5-149:6.




                                              70
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 71 of 97 PageID #:7369




       111.    In his comparison between the test fire and the fired cartridge cases submitted to

the lab, Gunnell would look at the microscopic stria that were present and also the impressions.

(Ex. 52, Gunnell 1994 Trial Testimony, 657:20-658:12).

       RESPONSE: Undisputed.

       112.    It would be impossible for every single mark to match between the test fires and

the fired evidence because everything changes slightly during time, such as use of the weapon, and

also different metals, and therefore there are no such things as truly homogeneous pieces of metal.

(Ex. 52, Gunnell 1994 Trial Testimony, 658:13-24). The stria on the evidence bullets and the test

fired bullets will never perfectly match in a comparison. (Ex. 52, Gunnell 1994 Trial Testimony,

660:8-16).

       RESPONSE: Undisputed that Gunnell so testified. Dispute that “everything changes

slightly during time.” Ex. 50 (Murdock Civil Report) at 5 (properly stored bullets will not

degrade over time). Furthermore, clarify that while “every single” mark or stria need not be

matched, markings in key areas including the breech face, firing pin impression, firing pin

aperture bulge, and ejector, extractor, and magazine lip marks, must be sufficiently similar

in order to support an identification. Id. at 6-8; PSOF 123-131.

       113.    Gunnell also examined the evidence bullets compared with the test fired bullets,

examining the number of lands and grooves, the width of those lands and grooves, and the direction

of the twist; next, he would start looking for the individual or unique characteristics within those

lands and grooves, which appear as lines and are basically microscopic stria. (Ex. 52, Gunnell

1994 Trial Testimony, 659:5-22).

       RESPONSE: Undisputed.




                                                71
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 72 of 97 PageID #:7370




       114.    Gunnell concluded that the crime scene bullets and cartridge casings that were

submitted to him as evidence were fired from the Taurus 9mm firearm that also was submitted to

him as evidence. (Ex. 53, Gunnell October 7, 1993 Firearms Examination Report). Furthermore,

Gunnell testified at Pursley’s 1994 trial that fired projectiles or bullets were fired from the Taurus

firearm to the exclusion of all other firearms. (Ex. 52, Gunnell 1994 Trial Testimony, 662:12-22).

       RESPONSE: Undisputed that Gunnell so concluded and testified. Deny the truth of

the matter asserted because the recovered Taurus was in fact not the weapon that fired the

recovered bullets and casings. PSOF 123-131.

       115.    Gunnell did not attempt to take photographs of what he saw when he was doing

comparisons under the microscope because it was not the practice of the Illinois State Lab to take

photographs for comparison purposes. (Ex. 52, Gunnell 1994 Trial Testimony, 662:23-663:7; Ex.

44, Striupaitis Dep., Vol. II, 111:11-18; 112:17-19). According to Gunnell, photomicrographs

were not an accepted practice, were discouraged within the discipline, and were not allowed within

the Illinois State Police. (Ex. 52, Gunnell 1994 Trial Testimony, 663:8-664:12; Ex. 44, Striupaitis

Dep. Vol. II, 226:2-11).

       RESPONSE: Undisputed that Gunnell did not take photographs. Dispute that

Gunnell was not allowed to take photographs. The cited passage from Striupaitis does not

state that.

       116.    The sketches of the casings and the bullets prepared by Gunnell on his examination

report met minimum standards and did not fall below the accreditation standard. (Ex. 44,

Striupaitis Dep. Vol. II, 222:9-16).

       RESPONSE: Disputed. Although Striupaitis testified in the cited passage that

Gunnell met the minimum standards, he revealed moments later at his deposition that he




                                                 72
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 73 of 97 PageID #:7371




did not actually recall what the minimum standards were and he was not testifying that

Gunell met the minimum standards with his sketch. Ex 46 (Striupaitis Dep.) at 229:2-17.

Striupaitis testified that he would have included more detail in the sketches of the cartridge

casings. Id. at 220:5-13. Further answering, Gunnell’s “sketches” did not identify any

features of the casings or bullets that led him to find a match, or contain a single item of

information about why he reached his conclusion. Ex. 59 (Gunnell Lab Notes) and 60

(Gunnell Laboratory Report). “Even in 1993, a trained, qualified examiner would have

recorded the basis for his or her identification conclusion.” Ex. 50 (Murdock Civil Report)

at 6. Murdock testified that it is mandatory in forensic science to take high quality case notes.

Ex. 57 (Murdock 2019 Trial Tx.) at 33:16-23. Beth Patty also testified that findings need to

be properly supported by case notes. Ex. 51 (Patty Dep.) at 23:15-19, 33:13-16. Any time

evidence is analyzed “there are a lot of notes to be taken.” Ex. 61 (McLain Dep.) at 33:1-19.

       117.   Gunnell repackaged the evidence and returned it to the vault until it was returned

to the agency. (Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD Defense at 3235:17-21).

Once the evidence was put in the vault and sent back to the Rockford Police Department, Gunnell

had no further involvement with the evidence until court proceedings. (Ex. 48, Gunnell 2016 Post

Conviction Testimony, RFD Defense 3237:10-16).

       RESPONSE: Disputed. Gunnell delivered the evidence directly to Jack Welty, who

then “verified” Gunnell’s false match. Ex. 42 (ISP evidence receipts) at 1 (documenting that

Gunnell hand-delivered Evidence Items 1-4 (the bullets, bullet fragments, and casings)

directly back to Welty); Ex. 112 (Gunnell RTA Responses) at Nos. 5-6 (claiming no memory

of what he did and admitting that the evidence receipt documents his tendering the evidence

directly to Welty); Ex. 41 (Welty Dep.) at 165:13-16. Gunnell delivered the evidence directly




                                               73
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 74 of 97 PageID #:7372




to Welty even though ISP policy in effect at the time permitted him to simply return the

evidence back to RPD. Ex. 48 (DeMuth Dep.) at 47:2-13. He also could have asked RPD to

come collect the evidence from his Chicago lab and transport it to Welty, but instead he

elected to do hours-long drive to deliver everything in person. Ex. 48 (DeMuth Dep.) at 80:20-

81:6; Ex. 41 (Welty Dep.) at 165:17-24.

       Welty was in possession of the evidence for more than one month before it was

tendered back to Charlene Getty, the RPD evidence tech. Ex. 48 (DeMuth Dep.) at 81:13-

24. During this time, Welty approved Gunnell’s “identification” of the Taurus as the

supposed murder weapon. Ex. 63 (3/14/2011 Email from Defendant Gunnell stating, “I

made the original ID that was verified by both Pete Striupaitis and then later by Jack

Welty. The case resulted in a conviction.”).

       118.   Gunnell never spoke with any of the Rockford Defendants about the Andrew

Ascher homicide investigation prior to examining the evidence from the case in June 1993. (Ex.

54, Gunnell Response to Pursley’s First Set of Request to Admit at 3).

       RESPONSE: Denied. Object to Defendant Gunnell’s reliance on his own denial to a

request for admission as it does not constitute evidentiary proof in support of this allegation.

Defendant Gunnell has not cited any testimony on this point, let alone testimony that was

subject to cross-examination by Plaintiff. Deny that Defendant Gunnell had personal

knowledge of whether he spoke with any RPD Defendants at the time he prepared his RTA

responses, in which he admitted that he lacked recall of several different aspects of his work

on the case and that “some of the details” of this case “are now fuzzy in his memory.” Ex.

115 (Gunnell’s Resp. to 1st RTAs); Ex. 112 (Gunnell’s Resp. to 2nd RTAs). Denied further

as the evidence in the record supports a reasonable inference that Gunnell worked in concert




                                               74
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 75 of 97 PageID #:7373




with Defendant Forrester through Jack Welty, who initially spoke with Defendant Forrester

about the case and helped Forrester by giving a “preliminary opinion” in order to obtain a

search warrant; Welty handed off the evidence to Gunnell and then met with Gunnell

afterwards to re-take possession of the evidence from Gunnell and approve of Gunnell’s

match. PSOF 116-119.

       119.    Before examining the Ascher ballistics evidence, Gunnell neither received the

evidence directly from Jack Welty nor did Gunnell speak to Welty about the evidence or

investigation. (Ex. 54, Gunnell Response to Plaintiff’s First Set of Request to Admit at 3).

       RESPONSE: Undisputed that Gunnell did not receive the evidence directly from

Welty. Disputed as to the remainder of the allegation, which relies on inadmissible hearsay.

Gunnell had no recollection of whether he met with Welty. Ex. 115 (Gunnell’s Resp. to 1st

RTAs) at 6.

       120.    Gunnell’s next involvement looking at the physical evidence occurred in 2012,

when he looked at the evidence at the Springfield Forensic Science Laboratory with forensic

scientist Beth Patty present. (Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD Defense

3238:4-13). When looking at the discharged cartridge cases in 2012, Gunnell concluded that the

replication of both individual and class characteristics from the evidence was sufficient to result

in a finding that they were both fired from the Taurus 9mm firearm. (Ex. 48, Gunnell 2016 Post

Conviction Testimony, RFD Defense 3240:15-21).

       RESPONSE: Disputed. In preparation for his trial testimony, Gunnell reviewed the

evidence and his opinions with members of the Winnebago County State’s Attorney’s Office

on April 5, 1994. Ex. 116 (Welty 1994 Memo). Object to Defendants’ reliance on Gunnell’s

2012 conclusions as inadmissible hearsay and undisclosed expert opinions, as well as on the




                                                75
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 76 of 97 PageID #:7374




basis that whether Gunnell claimed to have still found a match in 2012 is irrelevant at

summary judgment.

       121.    When Gunnell examined the fired bullets in 2012, there did not appear to be the

finer microscopic striae that would be necessary to make an identification. (Ex. 48, Gunnell 2016

Post Conviction Testimony, RFD Defense 3240:24-RFD Defense 3241:4, 10-13). Gunnell did not

write any report based on his examination of the evidence in 2012 because he did not rework the

evidence; Gunnell testified that he thought it was a courtesy for him to view the evidence under

the microscope. (Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD Defense 3243:6-15).

       RESPONSE: Undisputed that Gunnell did not make an identification of the bullets

in 2012.

       122.    Gunnell testified in 2016 that the fired bullets looked different after 19 years

following his initial examination in 1993; although Gunnell did not know what occurred, he

testified that the handling of the evidence, with bodily fluids acting as an etchant, possibly affected

the evidence. (Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD Defense 3243: 16-20; RFD

Defense 3244:1-RFD Defense: 13). Based on his knowledge of firearm examination and testing

and his background in metallurgy, Gunnell believed that some of the metals at issue were soft and

could be affected over time by various contact with other things. (Ex. 48, Gunnell 2016 Post

Conviction Testimony, RFD Defense 3252:14-20).

       RESPONSE: Undisputed that Gunnell testified that the bullets did not look the same

as he remembered them looking in 1993, but Plaintiff clarifies that Gunnell had no photos

from 1993 to confirm that memory. Ex. 58 (Gunnell 2016 testimony) at Pursley 007369.

Plaintiff also clarifies that Gunnell’s background in metallurgy appeared to be taking some

classes in metallurgy. Ex. 58 (Gunnell 2016 testimony) at Pursley 007371:16-19. During his




                                                  76
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 77 of 97 PageID #:7375




testimony at the 2016 post-conviction proceedings, Gunnell abandoned his conclusion that

the crime scene bullets matched Pursley’s Taurus. Ex. 58 (Gunnell 2016 testimony) at

Pursley 007367:10-007368:13. Gunnell also testified that when he looked at the evidence in

2012, he already knew that Patty had deemed the bullets as “inconclusive” as related to

Pursley’s Taurus and that he did not rework the evidence, was allowed access to it as a

“courtesy,” and was just looking at with “a little bit more than personal interest.” Ex. 58

(Gunnell 2016 testimony) at Pursley 007365:4-007367:14, Pursley 007370:9-15. Dispute the

bullets in fact changed in appearance over time. There is no evidence of degradation. Ex. 51

(Patty Dep.) at 133:10-135:21 (no evidence of degradation observed on bullets or cartridge

cases); Ex. 50 (Murdock Civil Report) at 5 (no evidence of degradation or damage to the

bullets).

       123.    Gunnell believed that the bullets’ condition changed in a way that was material to

his examination of the bullets. (Ex. 48, Gunnell 2016 Post Conviction Testimony, RFD Defense

3325:10-21).

       RESPONSE: Undisputed that Gunnell so testified but dispute that the bullets’

condition changed at all. Ex. 51 (Patty Dep.) at 133:10-135:21 (no evidence of degradation

observed on bullets or cartridge cases); Ex. 50 (Murdock Civil Report) at 5 (no evidence of

degradation or damage to the bullets).

P.     Peter Striupaitis Verified Dan Gunnell’s 1993 Firearms Examination Results.

       124.    In 1993, Peter Striupaitis was a forensic examiner with the Illinois State Police in

Broadview who conducted firearms and tool mark examination. (Ex. 44, Striupaitis Dep. Vol. II,

86:15-87:7, 154:8-10).

       RESPONSE: Undisputed.




                                                77
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 78 of 97 PageID #:7376




       125.    If a firearms examiner determined that two pieces of evidence presented an

identification, a second examiner would be necessary to verify the primary examiner’s finding of

identification. (Ex. 44, Striupaitis Dep. Vol. II, 89:22-91:8). A verification would require looking

in the comparison microscope to verify the primary examiner’s results. (Ex. 44, Striupaitis Dep.

Vol. II, 90:17-91:8).

       RESPONSE: Undisputed, subject to the clarification that it is best practice to conduct

blind verifications, meaning the verifier should not know the original analyst’s results before

conducting his/her own exam. Ex. 62 (Coleman Dep.) at 12:9-14:23; 16:14-17:11; 105:18-

106:16.

       126.    Striupaitis did not conduct an examination of the firearms evidence in this case.

(Ex. 44, Striupaitis Dep. Vol. II, 166:18-22). Rather, when verifying an identification made by

another examiner, the identifying examiner will point out areas of agreement that are important to

the verifying examiner, and then the verifying examiner will look at those areas under the

comparison microscope to verify the findings. (Ex. 44, Striupaitis Dep. Vol. II, 181:16-20, 182:2-

14, 184:16-20, 189:14-190:14).

       RESPONSE: Undisputed that Striupaitis did not conduct an examination of the

firearms evidence in this case. Disputed as to the rest of this statement of fact. Ex. 62

(Coleman Dep.) at 12:9-14:23; 16:14-17:11; 105:18-106:16.

       127.    Striupaitis verified Dan Gunnell’s findings of identification in this case. (Ex. 44,

Striupaitis Dep. Vol. II, 189:7-13, 196:14-20, 211:5-8).

       RESPONSE: Undisputed subject to the clarification that Striupaitis’s “verification”

was not blind, as would have been proper. Ex. 46 (Striupaitis Dep.) at 184:21-24, 185:6-9;

Ex. 62 (Coleman Dep.) at 12:9-14:23; 16:14-17:11; 105:18-106:16.




                                                78
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 79 of 97 PageID #:7377




Striupaitis knew that Gunnell had decided there was a match before doing his own look. He

understood that Gunnell was calling him over to the microscope to verify an identification.

Ex. 46 (Striupaitis Dep.) at 182:2-14. Striupaitis’s practice for doing verifications was to look

through the scope in the spot where Gunnell had set up the evidence, with Gunnell present.

He did not conduct his own examination or review test-to-test comparisons to establish

reproducibility. Ex. 46 (Striupaitis Dep.) at 242:22-243:3. He had never not verified one of

Gunnell’s conclusions. Id. at 96:23-97:1. In addition, Striupaitis had done “a good number”

of verifications in his career; possibly hundreds. Ex. 46 (Striupaitis Dep.) at 95:20-96:16. In

all the years he had done verifications, he never disagreed with what the original examiner

had laid out in the microscope as a potential identification. Ex. 46 (Striupaitis Dep.) at 96:17-

20.

       128.    Striupaitis did not testify at any court hearings concerning Patrick Pursley. (Ex. 44,

Striupaitis Dep. Vol. II, 208:19-21).

       RESPONSE: Undisputed.

Q.     Patrick Pursley’s Firearms Expert at the 1994 Trial—Mark Boese

       130.    Pursley’s firearm and tool mark expert in his 1994 criminal trial, Mark Boese,

opined that his finding was inconclusive as to whether Dan Gunnell’s test fired bullets matched

the bullets recovered at the crime scene. (Ex. 43, Boese 1994 Trial Testimony, 836:8-15).

       RESPONSE: Undisputed. Stating further, Boese testified that there was insufficient

information available for anyone—including Gunnell—to identify/match Pursley’s Taurus

with the crime scene bullets. Ex. 65 (Boese Trial Tx.) at 838:16-21.




                                                79
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 80 of 97 PageID #:7378




       131.    Boese therefore could not conclude that the bullets recovered at the crime scene

were not fired from the Taurus that the Rockford Police Department recovered in the Pursley case.

(Ex. 43, Boese 1994 Trial Testimony, 837:12-16).

       RESPONSE: Undisputed, subject to the clarification that Boese testified that there

was insufficient information available for anyone, including Gunnell, to identify or match,

Pursley’s Taurus with the crime scene bullets. Ex. 65 (Boese Trial Tx.) at 838:16-21.

       132.    Boese, also opined that “a weapon similar to the Taurus or probably another Taurus

at least fired the bullet.” (Ex. 43, Boese’s 1994 Trial Testimony, 801:8-15; 809:5-13).

       RESPONSE: Undisputed.

R.     Illinois State Police Firearms Examiner Russell McLain’s Examination (2011)

       133.    Russel McLain was a firearm and tool mark examiner employed by ISP at its

Forensic Science Lab in Rockford in 2011. (Ex. 55, McLain 2016 Post Conviction Testimony,

87:16-17, 91:7-11, 95:15-18, 96:8-17).

       RESPONSE: Undisputed.

       134.    In 2011, McLain conducted an examination of the crime scene ballistics evidence

through the Integrated Ballistics Identification System. (Ex. 55, McLain 2016 Post Conviction

Testimony, 101:4-13).

       RESPONSE: Disputed. One does not conduct “examinations” using the Integrated

Ballistics Identification System (“IBIS”). IBIS is a diagnostic tool that allows image

comparisons between images of questioned evidence to images of other ballistics within its

database. See, e.g, Ex. 117 (Brate Dep.) at 43:4-45:3. Undisputed that McLain entered the

ballistics evidence into IBIS.




                                                80
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 81 of 97 PageID #:7379




         135.   In 2011, McLain did not conduct a complete reexamination of the crime scene

ballistics evidence because such an examination had already been completed by Dan Gunnell. (Ex.

55, McLain 2016 Post Conviction Testimony, 105:8-14).

         RESPONSE: Undisputed. To clarify: McLain was “there just to do the IBIS

comparisons.” Ex. 118 (McLain 2016 Testimony) at 114:24-115:2.

         136.   McLain had performed hundreds of examinations and analyses of firearms and tool

mark evidence. (Ex. 55, McLain 2016 Post Conviction Testimony, 116:22-117:11). In 2011,

McLain used his experience as a firearms and tool mark examiner in conducting a physical

examination of the crime scene bullets and cartridge casings. (Ex. 55, McLain 2016 Post

Conviction Testimony, 119:3-15).

         RESPONSE: Undisputed, subject to the clarification that McLain did not perform a

blind verification, which is necessary to avoid confirmation bias. Ex. DEP10 (Coleman Dep.)

at 12:9-14:23; 16:14-17:11; 105:18-106:16; Ex. 118 (McLain 2016 Testimony) at 119:23-

120:2.

         137.   McLain compared Dan Gunnell’s 1993 test fired cartridge casings with the

cartridge casings from the crime scene and found that they matched and that the test fired cartridge

casings and the crime scene cartridge casings were fired out of the same firearm. (Ex. 55, McLain

2016 Post Conviction Testimony, 117:15-118:6, 119:10-15; Ex. 44, Striupaitis Dep. Vol. II, 212:3-

11). McLain conducted his examination by using a comparison microscope. (Ex. 55, McLain 2016

Post Conviction Testimony, 118:13-23).

         RESPONSE: Disputed. McLain (1) did not perform a blind verification, which is

necessary to avoid confirmation bias, Ex. 62 (Coleman Dep.) at 12:9-14:23; 16:14-17:11;

105:18-106:16; Ex. 118 (McLain 2016 TT) at Pursley 70507:23-7508:2; and (2) was “really




                                                81
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 82 of 97 PageID #:7380




there just to do the IBIS comparisons,” and looked at the evidence under a comparison

microscope only as part of his process for entering evidence into IBIS. Ex. 118 (McLain 2016

Testimony) at 114:24-115:2, 118:13-17. He was never asked to evaluate the evidence itself.

Ex. 118 (McClain 2016 Testimony) at Pursley 7502:20-23. In fact, McLain had agreed not to

evaluate the evidence, but did so anyway. Ex. 118 (McLain 2016 Testimony) at Pursley

007540:9-14. He stated that his examination was not thorough and that he understood that

reexamination was against ISP policy. Ex. 118 (McClain 2016 Testimony) at Pursley

007540:15-20, 007542:9-16.

       138.   McLain also similarly compared Dan Gunnell’s 1993 test fired bullets with the

bullets from the crime scene and found that one of the crime scene bullets matched, but the

comparison on the second crime scene bullet was “inconclusive.” (Ex. 55, McLain 2016 Post

Conviction Testimony, 119:3-9; Ex. 44, Striupaitis Dep. Vol. II, 212:3-11).

       RESPONSE: Undisputed but misleading because McLain (1) did not perform a blind

verification, which is necessary to avoid confirmation bias, Ex. 62 (Coleman Dep.) at 12:9-

14:23; 16:14-17:11; 105:18-106:16; and (2) was “really there just to do the IBIS

comparisons,” and looked at the evidence under a comparison microscope only as part of his

process for entering evidence into IBIS. Ex. 118 (McLain 2016 Testimony) at 114:24-115:2,

118:13-17. Stating further, McLain’s conclusion about the bullets differed from Gunnell and

Patty. 118 (McLain 2016 testimony) at 25:10-22. For instance, ISP examiner Beth Patty also

compared the test fired bullets to both crime scene bullets and disagreed with McLain’s

conclusion that one of them matched. Ex. 51 (Patty Dep.) at 123:16-124:23. In fact, during

Beth Patty’s exam, she turned bullet 4 in different orientations - or phases - looking to “find

something to be able to move on to the level of an identification,” but even in other




                                               82
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 83 of 97 PageID #:7381




orientations there was a little more agreement but nothing sufficient to make an

identification. Ex. 119 (Patty 2019 Testimony) at 266:19-268:5. Stating further, even Gunnell

was unable to identify the crime scene bullets with Pursley’s Taurus. Ex. 52 (Gunnell 2019

Testimony) at 203:1-3.

       Stating further, during the middle of her days of analysis, McLain emailed Patty with

pictures he took of bullet 4 in his analysis and said that she could look them over and give

him a call but that he was “still comfortable with my notes and spent so much time working

on it that I would have to remain with the same opinions expressed.” Ex. 120 (11.30.2012

McLain emails with Beth Patty).

S.     Illinois State Police Firearms Examiner Beth Patty’s Examination (2012)

       139.   Beth Patty was employed with the Illinois State Police Forensic Science Services

since 1995, and was an Assistant Laboratory Director who had experience with firearms

examinations. (Ex. 49, Patty 2016 Post Conviction Testimony, 41:22-42:2).

       RESPONSE: Undisputed.

       140.   Patty also served as a Quality Review Coordinator with the Illinois State Police.

(Ex. 49, Patty 2016 Post Conviction Testimony, 50:3-13).

       RESPONSE: Undisputed.

       141.   In 2012, Patty conducted a firearms examination in Pursley’s case at the Illinois

State Police Forensic Science Laboratory in Springfield. (Ex. 49, Patty 2016 Post Conviction

Testimony, 51:11-15).

       RESPONSE: Undisputed, subject to the clarification that Patty did not conduct a

blind examination; she had already reviewed the file in 2007 and knew when she performed

her analysis in 2012 that one of her colleagues had identified the crime scene evidence as




                                             83
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 84 of 97 PageID #:7382




having come from Pursley’s Taurus, and that her colleague’s identification was under

scrutiny. Ex. 51 (Patty Dep.) at 98:24-99:6, 100:2-16, 102:22-103:16. Plaintiff also clarifies

that ISP had somewhere around 30 other examiners had the time who had not previously

reviewed the evidence and could have conducted a blind analysis which would have been

“ideal” according to Patty. Ex. 51 (Patty Dep.) at 101:20-102:21. She also did not compare

ejector marks, extractor marks, or magazine lip marks, despite knowing that those marks

contributed to Murdock’s elimination conclusion, and despite knowing that these marks are

something an examiner should consider. Ex. 121 (Patty 2016 Testimony) at 140:15-141:8.

Further, Patty’s exam of the cartridge cases was not thorough. For instance, when asked

about a particular mark on the firing pin aperture bulge, she testified that she did not

“particularly focus in on it…” Ex. 119 (Patty 2016 Testimony) at 139:19-22.

       142.   Patty’s reexamination consisted of comparing Dan Gunnell’s test fired cartridge

casings and bullets with the crime scene cartridge casings and bullets through a microscopic

analysis. (Ex. 49, Patty 2016 Post Conviction Testimony, 61:1-20, 62:7-8). Based on her

microscopic examination, Patty determined that Dan Gunnell’s test fired cartridge casings matched

the crime scene cartridge casings in this case, and therefore she concluded that the crime scene

cartridge casings were fired from the Taurus 9mm firearm recovered in the Pursley case. (Ex. 49,

Patty 2016 Post Conviction Testimony, 71:14-24; Ex. 56, Patty Dep., 98:14-23; Ex. 57, Patty

December 14, 2012 Firearms Examination Report).

       RESPONSE: Undisputed, subject to the clarification that she did not compare ejector

marks, extractor marks, or magazine lip marks, despite knowing that those marks

contributed to Murdock’s elimination conclusion, and despite knowing that these marks are

something an examiner should consider. Ex. 121 (Patty 2016 Testimony) at Pursley




                                               84
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 85 of 97 PageID #:7383




007668:15-23, Pursley 007695:10-16. Further, Patty’s exam of the cartridge cases was not

thorough. For instance, when asked about a particular mark on the firing pin aperture bulge,

she testified that she did not “particularly focus in on it…” Ex. 121 (Patty 2016 Testimony)

at Pursley 007666:17-7667:22.

       In addition, Beth Patty’s exam was not blind. She knew when she performed her

analysis in 2012 that one of her colleagues had identified the crime scene evidence as having

come from Pursley’s Taurus, and that her colleague’s identification was under scrutiny. Ex.

51 (Patty Dep.) at 98:24-99:6, 100:2-16, 102:22-103:16. Patty had already reviewed Gunnell’s

file and approved it in 2007. Ex. 51 (Patty Dep.) at 100:2-103:16. Stating further, Patty met

with Gunnell to discuss her findings before sending out her reports. Ex. 119 (Patty 2019

Testimony) at 302:21-24.

       143.    Based on her microscopic examination, Patty could not determine that Dan

Gunnell’s test fired bullets either matched or eliminated from the crime scene bullets in this case,

and therefore her conclusion was “inconclusive” as to whether the crime scene bullets were fired

from the Taurus 9mm firearm recovered in the Pursley case. (Ex. 49, Patty 2016 Post Conviction

Testimony, 76:7-10; Ex. 56, Patty Dep., 98:24-99:6; Ex. 57, Patty December 14, 2012 Firearms

Examination Report).

       RESPONSE: Undisputed.

T.     Pursley’s Expert John Murdock’s Examination (2012)

       144.    John Murdock is a firearms and tool mark examiner retained by Patrick Pursley to

conduct an examination of the ballistics evidence from the Ascher homicide. (Ex. 58, John

Murdock Report at 1; Ex. 45, Murdock Dep., 7:11-16; 9:18-20; 11:3-21).

       RESPONSE: Undisputed.




                                                85
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 86 of 97 PageID #:7384




       145.    In conducting his examination for this case, Murdock did not conduct a new

examination; rather, he relied upon an examination of the evidence he had previously performed

in 2012. (Ex. 45, Murdock Dep., 45:12-16). Murdock had the benefit of microscopes with much

higher powers of magnification than in 1993. (Id. at 221:2-5.)

       RESPONSE: The first sentence is undisputed, subject to the clarification that in 2012,

Mr. Murdock performed a highly detailed and thorough examination of the firearms

evidence, including more than 70 pages of photographs and handwritten notes, Ex. 66

(Murdock Complete Disclosure) at Pursley 10660-10740. The second sentence is disputed to

the extent it suggests Mr. Murdock relied on higher powers of magnification in 2012 than

were available in 1993. Although Murdock’s microscopes in 2012 were capable of higher

powers of magnification than were available in 1993, he did not base all of his conclusions on

higher powers of magnification than were available in 1993. Ex. 55 (Murdock Sept. 2021

Dep.) at 218:12-219:6, 221:6-18. In fact, Murdock testified that some of his conclusions that

Pursley’s Taurus did not fire the crime scene evidence were based on toolmarks viewed at

magnifications of 15-30x, which were available in 1993. Ex. 55 (Murdock Sept. 2021 Dep.) at

218:12-219:6, 223:18-225:18.

       146.    In conducting his examination of the Pursley evidence in 2012, Murdock did not

test fire the Taurus pistol that was the suspected murder weapon in the Ascher case. (Ex. 45,

Murdock Dep., 59:1-8).

       RESPONSE: Undisputed, but immaterial.

       147.    Murdock concluded that the cartridge cases and bullets from the Asher homicide

were not fired from the Taurus recovered in the Pursley case, resulting in a finding of elimination,

even though Murdock otherwise testified that he thought the evidence looked similar upon initial




                                                86
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 87 of 97 PageID #:7385




examination. (Ex. 58, Murdock Expert Report at 8; Ex. 45, Murdock Dep., 85:16-86:3; 164:9-16;

222:20-223:8). Murdock also testified that at least one series of photos revealed at least some level

of quantitative agreement in the evidence, indicating that he believed that led Dan Gunnell to make

an identification; Murdock otherwise indicated similarities in the bullets having the same number

of land and groove impressions, as well as similar breech face marks. (Id. at 91:9-93:20; 152:12-

153:1.)

          RESPONSE: Undisputed that Murdock concluded that the cartridge cases and

bullets from the Asher homicide were not fired from the Taurus recovered in the Pursley

case, resulting in a finding of elimination, but disputed to the extent that “even though

Murdock otherwise testified that he thought the evidence looked similar upon initial

examination” is misleading and an inaccurate recitation of the testimony. Ex. 55 (Murdock

Sept. 2021 Dep.) at 85:16-21. Murdock testified that he initially saw a similarity in a single

breech-face marking, id., but upon further examination realized that the microscopic detail

did not match and was not in the same relative position, which should have been noticed in

1993, id.

          Also disputed that “Murdock also testified that at least one series of photos revealed

at least some level of quantitative agreement in the evidence, indicating that he believed that

led Dan Gunnell to make an identification; Murdock otherwise indicated similarities in the

bullets having the same number of land and groove impressions, as well as similar breech

face marks.” This statement is not supported by Defendants’ citations. Murdock testified

that the similar arch-shaped marks across the breech face were characteristic of a Taurus

during that time, which allowed Defendant Welty to determine that the crime scene evidence




                                                 87
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 88 of 97 PageID #:7386




had likely been fired from a Taurus. Ex. 55 (Murdock 2021 Dep.) at 152:12-153:24.

Undisputed that Murdock observed the same number of land and groove impressions.

       148.   Although Murdock disagreed with Dan Gunnell’s 1993 findings, Murdock testified

that he is not offering an opinion that Dan Gunnell fabricated any evidence while undertaking his

examination of the ballistics evidence in this case in 1993. (Ex. 45, Murdock Dep., 198:13-16).

       RESPONSE: Undisputed that Mr. Murdock gave this testimony, but object that (1)

this testimony goes beyond the scope of his report; (2) Mr. Murdock reviewed only limited

firearms evidence and no other evidence in this case and therefore has no foundation to opine

about whether Defendant Gunnell fabricated evidence; and (3) his personal opinion—or lack

thereof—on the ultimate issue of fabrication is immaterial and inadmissible. See Good

Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th Cir. 2003) (“[E]xpert

testimony as to legal conclusions that will determine the outcome of the case is

inadmissible”); United States v. Neushwander, 2017 WL 4572212, at *4 (N.D. Ill. Oct. 14,

2017) (“When an expert attempts to impinge on the role of the jury, the testimony should be

barred.”) (citing United States v. Lupton, 620 F.3d 790 (7th Cir. 2010)). Stating further,

Murdock and Coleman both opined that Gunnell clearly would have seen these material

differences when looking at the evidence under typical magnification. PSOF 109, 126, 128,

130.

       149.   In undertaking his evaluation of the evidence in this case, Murdock did not see any

evidence or materials indicating that Dan Gunnell, Jack Welty, or Peter Striupaitis rendered any

opinions in order to frame Patrick Pursley for the Ascher homicide. (Ex. 45, Murdock Dep.,

203:16-23).




                                               88
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 89 of 97 PageID #:7387




          RESPONSE: Disputed. The cited testimony does not support the asserted fact.

Further, object that (1) this testimony goes beyond the scope of his report; (2) Mr. Murdock

reviewed only limited firearms evidence and no other evidence in this case and therefore has

no foundation to opine about whether Gunnell, Welty, or Striupaitis rendered any opinions

in order to frame Mr. Pursley; and (3) his personal opinion—or lack thereof—on the

ultimate issue of fabrication is immaterial and inadmissible. See Good Shepherd Manor

Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th Cir. 2003) (“[E]xpert testimony as to

legal conclusions that will determine the outcome of the case is inadmissible”); United States

v. Neushwander, 2017 WL 4572212, at *4 (N.D. Ill. Oct. 14, 2017) (“When an expert attempts

to impinge on the role of the jury, the testimony should be barred.”) (citing United States v.

Lupton, 620 F.3d 790 (7th Cir. 2010)).

          150.   In undertaking his evaluation of the evidence in this case, Murdock did not see any

evidence or materials indicating that any Illinois State Police lab personnel rendered the opinions

that they did regarding the ballistics evidence in order to fit a predetermined narrative that was

communicated to them by the Rockford Police Department. (Ex. 45, Murdock Dep., 203:24-

204:6).

          RESPONSE: Undisputed that Mr. Murdock gave this testimony, but object that (1)

this testimony goes beyond the scope of his report; (2) Mr. Murdock reviewed only limited

firearms evidence and no other evidence in this case and therefore has no foundation to opine

about whether Gunnell, Welty, or Striupaitis rendered any opinions in order to frame Mr.

Pursley; and (3) his personal opinion—or lack thereof—on the ultimate issue of fabrication

is immaterial and inadmissible. See Good Shepherd Manor Found., Inc. v. City of Momence,

323 F.3d 557, 564 (7th Cir. 2003) (“[E]xpert testimony as to legal conclusions that will




                                                 89
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 90 of 97 PageID #:7388




determine the outcome of the case is inadmissible”); United States v. Neushwander, 2017 WL

4572212, at *4 (N.D. Ill. Oct. 14, 2017) (“When an expert attempts to impinge on the role of

the jury, the testimony should be barred.”) (citing United States v. Lupton, 620 F.3d 790 (7th

Cir. 2010)).

          151.   Murdock further testified that he has no reason to dispute Jack Welty’s conclusion,

reached after his initial examination of the ballistics evidence in 1993, that the breech face marks

on the evidence cartridge cases corresponded to a Taurus firearm. (Ex. 45, Murdock Dep., 229:22-

230:1).

          RESPONSE: Undisputed.

          152.   Gunnell testified that he disagreed with Murdock’s conclusions, and that he did not

understand how Murdock could have eliminated the bullets from being fired from the Taurus

firearms when there was agreement in class characteristics and there was some agreement in

individual characteristics; Gunnell believed that would seem to preclude an elimination. (Ex. 48,

Gunnell 2016 Post Conviction Testimony, RFD Defense 3255:5-16).

          RESPONSE: Undisputed, subject to the clarification that Gunnell did not examine

the extractor, ejector, or magazine lip marks at this time. Ex. 52 (Gunnell 2019 Testimony)

at 207, 208.

U.        Chris Coleman’s Verification of John Murdock’s Findings

          153.   Chris Coleman is a firearms and tool mark examiner employed at the Forensic

Analytical Crime Lab in Hayward, California. (Ex. 59, Chris Coleman Report at 1).

          RESPONSE: Undisputed.

          154.   Coleman performed a verification of Murdock’s 2012 findings, and he was retained

as a second expert in this case. (Ex. 59, Chris Coleman Report).




                                                 90
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 91 of 97 PageID #:7389




       RESPONSE: Undisputed.

       155.   Coleman testified it is fair to say that two qualified firearms examiners could

examine the same evidence and come to different conclusions. (Ex. 46, Coleman Dep., 102:8-12).

       RESPONSE: Undisputed, subject to the clarification that Coleman testified that one

examiner might have a more conservative view and decline to make an identification, where

another would make an identification. Defs.’ Ex. 46 (Coleman Dep.) at 102:8-24. He does not

say, as Defendants imply, that qualified examiners could have different opinions as to

whether there is an identification or an elimination. Id.

       156.   Coleman further testified that he does not think that Dan Gunnell fabricated his

findings. (Ex. 46, Coleman Dep., 126:21-127:15).

       RESPONSE: Undisputed that Coleman gave this testimony, but object that (1) this

testimony goes beyond the scope of Mr. Coleman’s report; (2) Mr. Coleman reviewed only

limited firearms evidence and no other evidence in this case and therefore has no foundation

to offer this opinion; and (3) his personal opinion on the ultimate issue of fabrication is

immaterial and inadmissible. See Good Shepherd Manor Found., Inc. v. City of Momence, 323

F.3d 557, 564 (7th Cir. 2003) (“[E]xpert testimony as to legal conclusions that will determine

the outcome of the case is inadmissible”); United States v. Neushwander, 2017 WL 4572212,

at *4 (N.D. Ill. Oct. 14, 2017) (“When an expert attempts to impinge on the role of the jury,

the testimony should be barred.”) (citing United States v. Lupton, 620 F.3d 790 (7th Cir.

2010)). Further, Coleman was not asked to review Gunnells’s state of mind or opine about

why Gunnell his conclusions. Ex. 62 (Coleman Dep.) at 156:6-11.

       157.   At most, Coleman believes that Dan Gunnell “made a mistake.” (Ex. 46, Coleman

Dep., 144:3-24).




                                              91
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 92 of 97 PageID #:7390




       RESPONSE: Disputed. This sentence is not supported by this citation and is an

incomplete recitation of Coleman’s testimony. Def. Ex. 46, 144:3-17. Coleman further

testified that the toolmarks that eliminated the Taurus as the crime scene weapon were

visible to Gunnell, and if he had seen them, he would have known the Taurus was eliminated

as the shooter weapon. Id. at 145:13-146:9. Also, object that (1) this testimony goes beyond

the scope of Mr. Coleman’s report; (2) Mr. Coleman reviewed only limited firearms evidence

and no other evidence in this case and therefore has no foundation to offer this opinion; and

(3) his personal opinion on the ultimate issue of fabrication is immaterial and inadmissible.

See Good Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th Cir. 2003)

(“[E]xpert testimony as to legal conclusions that will determine the outcome of the case is

inadmissible”); United States v. Neushwander, 2017 WL 4572212, at *4 (N.D. Ill. Oct. 14,

2017) (“When an expert attempts to impinge on the role of the jury, the testimony should be

barred.”) (citing United States v. Lupton, 620 F.3d 790 (7th Cir. 2010)).

V.     ISP Defendants’ Retained Expert Matt Noedel’s Examination

       158.   Matt Noedel is a firearms and tool mark examiner who was retained by the ISP

Defendants to perform a reexamination of the ballistics evidence in the Pursley case. (Ex. 47,

Noedel Dep., 22:12-15; Ex. 60, Matt Noedel Expert Report).

       RESPONSE: Undisputed.

       159.   As part of his examination, Noedel reviewed the expert report that was developed

by John Murdock in the Pursley matter. (Ex. 47, Noedel Dep., 24:13-17; 38:12-19; Matt Noedel

Expert Report at 15).

       RESPONSE: Undisputed.




                                              92
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 93 of 97 PageID #:7391




       160.    Mr. Noedel also conducted an examination of the ballistics evidence in the case,

which he conducted in two phases. (Ex. 47, Noedel Dep., 24:10-21). In the first phase, Noedel

reviewed the documentation from all expert opinions that have been offered in both the civil and

underlying criminal Pursley matters. (Ex. 47, Noedel Dep., 24:10-21). Noedel also reviewed the

paper file of the ballistics examination that was performed by Dan Gunnell in 1993. (Ex. 47,

Noedel Dep., 33:13-34:16).

       RESPONSE: Undisputed.

       161.    One of Noedel’s goals in this first phase of his examination was to assess the

veracity of Pursley’s allegation that the ISP laboratory fabricated evidence in 1993. (Ex. 47,

Noedel Dep., 33:13-34:16).

       RESPONSE: Undisputed, but immaterial. Object because Noedel’s report offers no

opinions about whether ISP fabricated evidence, and therefore this opinion is inadmissible.

Ex. 122 (Noedel Report); Ex. 123 (Noedel Dep.) at 33:13-35:5; Fed. R. Civ. P. 26(a)(2)(B)(i).

In addition, whether ISP fabricated evidence is an ultimate issue in this case, the

determination of which belongs to the jury, and Noedel’s opinion on the matter would not

be admissible. See Good Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564

(7th Cir. 2003) (“[E]xpert testimony as to legal conclusions that will determine the outcome

of the case is inadmissible”); United States v. Neushwander, 2017 WL 4572212, at *4 (N.D. Ill.

Oct. 14, 2017) (“When an expert attempts to impinge on the role of the jury, the testimony

should be barred.”) (citing United States v. Lupton, 620 F.3d 790 (7th Cir. 2010)).

       162.    To make that assessment, Noedel considered the following things during phase one

of his examination: (1) the existence of obliterations or alterations to the evidence; (2) whether the

documentation of the original 1993 examination was reasonable or unreasonable for the time




                                                 93
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 94 of 97 PageID #:7392




frame; (3) whether the testimony provided by ISP forensic examiners at previous criminal

proceedings in the Pursley matter was reasonable; (4) whether the reanalysis that was completed

years later by Murdock that provided a completely opposite opinion from Dan Gunnell’s 1993

opinion was a reasonable assessment; and (5) whether the documentation from the reanalysis

reasonably allowed for the conclusion of elimination. (Ex. 47, Noedel Dep., 33:13-34:16).

       RESPONSE: Undisputed, but immaterial, assuming that “to make that assessment”

refers to whether ISP fabricated evidence. Object because Noedel’s report offers no opinions

about whether ISP fabricated evidence, and therefore this opinion is inadmissible. Ex. 122

(Noedel Report); Ex. 123 (Noedel Dep.) at 33:13-35:5; Fed. R. Civ. P. 26(a)(2)(B)(i). In

addition, whether ISP fabricated evidence is an ultimate issue in this case, the determination

of which belongs to the jury, and Noedel’s opinion on the matter would not be admissible.

See Good Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th Cir. 2003)

(“[E]xpert testimony as to legal conclusions that will determine the outcome of the case is

inadmissible”); United States v. Neushwander, 2017 WL 4572212, at *4 (N.D. Ill. Oct. 14,

2017) (“When an expert attempts to impinge on the role of the jury, the testimony should be

barred.”) (citing United States v. Lupton, 620 F.3d 790 (7th Cir. 2010)).

       163.    After evaluating those categories of information, Noedel concluded that he did not

see any evidence of any fabrication by ISP examiners, or of a process that was “way out of line”

by the ISP examiners. (Ex. 47, Noedel Dep., at 34:14-16). Noedel spent approximately 20-30 hours

on the first phase of his examination. (Ex. 47, Noedel Dep., 43:4-8).

       RESPONSE: Undisputed, but object because Noedel’s report offers no opinions

about whether ISP fabricated evidence, and therefore this opinion is inadmissible. Ex. 122

(Noedel Report); Ex. 123 (Noedel Dep.) at 33:13-35:5; Fed. R. Civ. P. 26(a)(2)(B)(i). In




                                                94
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 95 of 97 PageID #:7393




addition, whether ISP fabricated evidence is an ultimate issue in this case, the determination

of which belongs to the jury, and Noedel’s opinion on the matter would not be admissible.

See Good Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th Cir. 2003)

(“[E]xpert testimony as to legal conclusions that will determine the outcome of the case is

inadmissible”); United States v. Neushwander, 2017 WL 4572212, at *4 (N.D. Ill. Oct. 14,

2017) (“When an expert attempts to impinge on the role of the jury, the testimony should be

barred.”) (citing United States v. Lupton, 620 F.3d 790 (7th Cir. 2010)).

       164.    In the second phase of his examination, Noedel examined the ballistics evidence

from the Ascher homicide, including the Taurus pistol, the evidence and test fired bullets, and the

evidence and test fired cartridge cases. (Ex. 47, Noedel Dep., at 24:10-25:9; see generally Ex. 60,

Noedel Report). Also as part of this second phase, Noedel conducted his own test fires of the

Taurus pistol. (Ex. 47, Noedel Dep., 25:10-26:2).

       RESPONSE: Undisputed.

       165.    After completing both phases of his examination of the ballistics evidence, Noedel

concluded that “the Taurus pistol could have fired cartridge cases 2A and 2B and should not be

eliminated as the murder weapon used [in the Ascher homicide].” (Ex. 47, Noedel Dep., 27:16-

28:3; Ex. 60, Noedel Report at 7).

       RESPONSE: Undisputed that Noedel so concluded, but dispute the assertion because

it is misleading and inadmissible as not generally accepted in the field of firearms and

toolmark analysis. Fed. R. Evid. 702; Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579,

592-93 (1993); Kirk v. Clark Equip. Co., 991 F.3d 865, 872 (7th Cir. 2021). Object to

Defendants’ reliance on this opinion because it violates Federal Rule of Evidence 702 and

should not be presented to the jury. Specifically, Noedel’s conclusion that the Taurus “could




                                                95
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 96 of 97 PageID #:7394




have fired” the crime scene evidence is not a generally accepted conclusion in the field. There

are only three types of accepted conclusions in firearms and tool mark analysis:

identification, elimination, or inconclusive, see DSOF 76, and neither the firearms examiner

field nor Noedel personally are reevaluating the use of the term “inconclusive,” Ex. 123

(Noedel Dep.) at 65:17-66:14. Further, it is not Noedel’s personal practice to conclude that a

weapon “could have fired” crime scene evidence. Ex. 123 (Noedel Dep.) at 66:8-14. In any

event, Matthew Noedel, created 18 new test fires using Pursley’s Taurus. Ex. 122 (Noedel

Report) at 3. In total he examined 30 test fired cartridge cases and was unable to

identify/match the crime scene evidence with Pursley’s Taurus. Ex. 123 (Noedel Dep.) at

57:24-58:2.

       Stating further, Noedel relied on a number of non-accepted methodologies to come to

this conclusion. First, he improperly began his exam by looking for matching information

rather than looking for differences that would support an elimination. Ex. 124 (Murdock

Civil Rebuttal) at 1 (and references cited therein). Second, he failed to consider whether any

similar breech face markings were class, subclass, or individual characteristics, which is

required in the field. Ex. 124 (Murdock Civil Rebuttal) at 3. Third, he failed to determine

the source of the tool working surface that produced any purportedly matching information.

Ex. 124 (Murdock Civil Rebuttal) at 3-4.

W.     Lack of liability insurance for decedent officers

       166.    City Administrator for the City of Rockford, who acts as the Special Representative

for the Estate, has sworn that there is and was no liability insurance policy protecting the Estate of

Defendant Forrester (Ex. 61).




                                                 96
 Case: 3:18-cv-50040 Document #: 358 Filed: 01/24/23 Page 97 of 97 PageID #:7395




       RESPONSE: Undisputed, but immaterial. The City of Rockford is statutorily

required to indemnify the Estate of Forrester. 5 ILCS § 350/2.

X.     Miscellaneous facts not addressed above

       167.   On June 11, 1993, first degree murder charges against Pursley were authorized by

Winnebago County State’s Attorney’s Office and a warrant was issued for Pursley’s arrest by a

Winnebago County Circuit judge for the murder of Andrew Ascher. (Ex. 13 at RFD Defense

000118); (Ex. 66 at Pursley 000671-000674).

       RESPONSE: Undisputed.




                                              97
